B1 (Official Form 1)(4/10)
                                                  United States Bankruptcy Court
                                                                District of Arizona                                                                                 Voluntary Petition
          }
          b
          k
          1
          {
          F
          o
          r
          m
          .
          V
          l
          u
          n
          t
          a
          y
          P
          e
          i




 Name of Debtor (if individual, enter Last, First, Middle):                                                 Name of Joint Debtor (Spouse) (Last, First, Middle):
  Cote, Travis Val                                                                                             Cote, Alexis Lorraine


All Other Names used by the Debtor in the last 8 years                                                      All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                                 (include married, maiden, and trade names):
  AKA Travis Cote                                                                                              AKA Alexis L. Noe; FKA Alexis Pennucci; AKA Alexis Noe



Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN                           Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
(if more than one, state all)                                                                               (if more than one, state all)
  xxx-xx-7157                                                                                                  xxx-xx-4216
Street Address of Debtor (No. and Street, City, and State):                                                 Street Address of Joint Debtor (No. and Street, City, and State):
  120 North Pottebaum Avenue                                                                                  120 N. Pottebaum Avenue
  Casa Grande, AZ                                                                                             Casa Grande, AZ
                                                                                           ZIP Code                                                                                        ZIP Code
                                                                                         85122                                                                                         85122
County of Residence or of the Principal Place of Business:                                                  County of Residence or of the Principal Place of Business:
  Pinal                                                                                                        Pinal
Mailing Address of Debtor (if different from street address):                                               Mailing Address of Joint Debtor (if different from street address):


                                                                                           ZIP Code                                                                                        ZIP Code

Location of Principal Assets of Business Debtor
(if different from street address above):


                       Type of Debtor                                       Nature of Business                                              Chapter of Bankruptcy Code Under Which
                    (Form of Organization)                                     (Check one box)                                                 the Petition is Filed (Check one box)
                       (Check one box)                              Health Care Business                                    Chapter 7
                                                                    Single Asset Real Estate as defined                     Chapter 9                       Chapter 15 Petition for Recognition
     Individual (includes Joint Debtors)                            in 11 U.S.C. § 101 (51B)                                                                of a Foreign Main Proceeding
     See Exhibit D on page 2 of this form.                                                                                  Chapter 11
                                                                    Railroad
                                                                                                                            Chapter 12                      Chapter 15 Petition for Recognition
     Corporation (includes LLC and LLP)                             Stockbroker
                                                                                                                            Chapter 13                      of a Foreign Nonmain Proceeding
                                                                    Commodity Broker
     Partnership
                                                                    Clearing Bank
     Other (If debtor is not one of the above entities,             Other                                                                               Nature of Debts
     check this box and state type of entity below.)                                                                                                     (Check one box)
                                                                            Tax-Exempt Entity
                                                                           (Check box, if applicable)                      Debts are primarily consumer debts,                 Debts are primarily
                                                                    Debtor is a tax-exempt organization                    defined in 11 U.S.C. § 101(8) as                    business debts.
                                                                    under Title 26 of the United States                    "incurred by an individual primarily for
                                                                    Code (the Internal Revenue Code).                      a personal, family, or household purpose."

                                Filing Fee (Check one box)                                    Check one box:                          Chapter 11 Debtors
     Full Filing Fee attached                                                                      Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                   Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
     Filing Fee to be paid in installments (applicable to individuals only). Must             Check if:
     attach signed application for the court's consideration certifying that the
                                                                                                   Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
     debtor is unable to pay fee except in installments. Rule 1006(b). See Official
                                                                                                   are less than $2,343,300 (amount subject to adjustment on 4/01/13 and every three years thereafter).
     Form 3A.
                                                                                              Check all applicable boxes:
     Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                  A plan is being filed with this petition.
     attach signed application for the court's consideration. See Official Form 3B.
                                                                                                   Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                                                                   in accordance with 11 U.S.C. § 1126(b).
Statistical/Administrative Information                                                                                                                    THIS SPACE IS FOR COURT USE ONLY
   Debtor estimates that funds will be available for distribution to unsecured creditors.
   Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
   there will be no funds available for distribution to unsecured creditors.
Estimated Number of Creditors

     1-              50-            100-           200-       1,000-        5,001-        10,001-       25,001-       50,001-          OVER
     49              99             199            999        5,000        10,000         25,000        50,000        100,000         100,000
Estimated Assets

     $0 to           $50,001 to     $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000         $100,000       $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                                   million    million      million        million       million
Estimated Liabilities

     $0 to           $50,001 to     $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000         $100,000       $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                  Case 4:10-bk-23768-JMM           million    million
                                                                           Doc 1 Filed 07/29/10 Entered 07/29/10 10:44:52
                                                                           million        million       million
                                                                                                                                                                                  Desc
                                                                           Main Document Page 1 of 58
B1 (Official Form 1)(4/10)                                                                                                                                                  Page 2
                                                                                      Name of Debtor(s):
Voluntary Petition                                                                      Cote, Travis Val
(This page must be completed and filed in every case)                                   Cote, Alexis Lorraine
                                 All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
Location                                                                      Case Number:                         Date Filed:
Where Filed: - None -
Location                                                                              Case Number:                                   Date Filed:
Where Filed:
          Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor:                                                     Case Number:                          Date Filed:
 - None -
District:                                                                             Relationship:                                  Judge:

                                       Exhibit A                                                                                Exhibit B
                                                                                         (To be completed if debtor is an individual whose debts are primarily consumer debts.)
  (To be completed if debtor is required to file periodic reports (e.g.,                I, the attorney for the petitioner named in the foregoing petition, declare that I
  forms 10K and 10Q) with the Securities and Exchange Commission                        have informed the petitioner that [he or she] may proceed under chapter 7, 11,
  pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934                12, or 13 of title 11, United States Code, and have explained the relief available
  and is requesting relief under chapter 11.)                                           under each such chapter. I further certify that I delivered to the debtor the notice
                                                                                        required by 11 U.S.C. §342(b).

        Exhibit A is attached and made a part of this petition.                         X /s/ Thomas J. Cesta                                          July 29, 2010
                                                                                            Signature of Attorney for Debtor(s)                     (Date)
                                                                                              Thomas J. Cesta 021453

                                                                                Exhibit C
  Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
       Yes, and Exhibit C is attached and made a part of this petition.
       No.

                                                                           Exhibit D
  (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
        Exhibit D completed and signed by the debtor is attached and made a part of this petition.
  If this is a joint petition:
        Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                      Information Regarding the Debtor - Venue
                                                                (Check any applicable box)
                    Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180
                    days immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.
                    There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
                    Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in
                    this District, or has no principal place of business or assets in the United States but is a defendant in an action or
                    proceeding [in a federal or state court] in this District, or the interests of the parties will be served in regard to the relief
                    sought in this District.
                                         Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                 (Check all applicable boxes)
                    Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                       (Name of landlord that obtained judgment)




                                       (Address of landlord)

                    Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
                    the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                    Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period
                    after the filing of the petition.
                    Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
              Case 4:10-bk-23768-JMM                           Doc 1 Filed 07/29/10 Entered 07/29/10 10:44:52                                                Desc
                                                               Main Document Page 2 of 58
B1 (Official Form 1)(4/10)                                                                                                                                              Page 3
                                                                                         Name of Debtor(s):
Voluntary Petition                                                                          Cote, Travis Val
(This page must be completed and filed in every case)                                       Cote, Alexis Lorraine
                                                                                    Signatures
                  Signature(s) of Debtor(s) (Individual/Joint)                                          Signature of a Foreign Representative
     I declare under penalty of perjury that the information provided in this              I declare under penalty of perjury that the information provided in this petition
     petition is true and correct.                                                         is true and correct, that I am the foreign representative of a debtor in a foreign
     [If petitioner is an individual whose debts are primarily consumer debts and          proceeding, and that I am authorized to file this petition.
     has chosen to file under chapter 7] I am aware that I may proceed under
                                                                                           (Check only one box.)
     chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief
     available under each such chapter, and choose to proceed under chapter 7.                  I request relief in accordance with chapter 15 of title 11. United States Code.
     [If no attorney represents me and no bankruptcy petition preparer signs the                Certified copies of the documents required by 11 U.S.C. §1515 are attached.
     petition] I have obtained and read the notice required by 11 U.S.C. §342(b).
                                                                                                Pursuant to 11 U.S.C. §1511, I request relief in accordance with the chapter
     I request relief in accordance with the chapter of title 11, United States Code,           of title 11 specified in this petition. A certified copy of the order granting
     specified in this petition.                                                                recognition of the foreign main proceeding is attached.

                                                                                           X
 X /s/ Travis Val Cote                                                                         Signature of Foreign Representative
     Signature of Debtor Travis Val Cote

 X /s/ Alexis Lorraine Cote                                                                    Printed Name of Foreign Representative
     Signature of Joint Debtor Alexis Lorraine Cote
                                                                                               Date
     Telephone Number (If not represented by attorney)                                            Signature of Non-Attorney Bankruptcy Petition Preparer
     July 29, 2010
                                                                                               I declare under penalty of perjury that: (1) I am a bankruptcy petition
     Date                                                                                      preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                               compensation and have provided the debtor with a copy of this document
                              Signature of Attorney*                                           and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                               110(h), and 342(b); and, (3) if rules or guidelines have been promulgated
                                                                                               pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
 X /s/ Thomas J. Cesta                                                                         chargeable by bankruptcy petition preparers, I have given the debtor notice
     Signature of Attorney for Debtor(s)                                                       of the maximum amount before preparing any document for filing for a
      Thomas J. Cesta 021453                                                                   debtor or accepting any fee from the debtor, as required in that section.
                                                                                               Official Form 19 is attached.
     Printed Name of Attorney for Debtor(s)
      Law Offices of Fife & Cesta, PLC
                                                                                               Printed Name and title, if any, of Bankruptcy Petition Preparer
     Firm Name
      1811 S. Alma School Road
      Suite 270                                                                                Social-Security number (If the bankrutpcy petition preparer is not
      Mesa, AZ 85210                                                                           an individual, state the Social Security number of the officer,
                                                                                               principal, responsible person or partner of the bankruptcy petition
     Address                                                                                   preparer.)(Required by 11 U.S.C. § 110.)

                            Email: tcesta@fifecestalaw.com
      (480) 850-6541 Fax: (480) 619-6238
     Telephone Number
     July 29, 2010
                                                                                               Address
     Date
     *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
     certification that the attorney has no knowledge after an inquiry that the            X
     information in the schedules is incorrect.
                                                                                               Date
                Signature of Debtor (Corporation/Partnership)
                                                                                               Signature of Bankruptcy Petition Preparer or officer, principal, responsible
     I declare under penalty of perjury that the information provided in this                  person,or partner whose Social Security number is provided above.
     petition is true and correct, and that I have been authorized to file this petition
     on behalf of the debtor.                                                                  Names and Social-Security numbers of all other individuals who prepared or
                                                                                               assisted in preparing this document unless the bankruptcy petition preparer is
     The debtor requests relief in accordance with the chapter of title 11, United             not an individual:
     States Code, specified in this petition.

 X
     Signature of Authorized Individual
                                                                                               If more than one person prepared this document, attach additional sheets
                                                                                               conforming to the appropriate official form for each person.
     Printed Name of Authorized Individual
                                                                                               A bankruptcy petition preparer’s failure to comply with the provisions of
                                                                                               title 11 and the Federal Rules of Bankruptcy Procedure may result in
     Title of Authorized Individual                                                            fines or imprisonment or both 11 U.S.C. §110; 18 U.S.C. §156.

     Date
             Case 4:10-bk-23768-JMM                            Doc 1 Filed 07/29/10 Entered 07/29/10 10:44:52                                              Desc
                                                               Main Document Page 3 of 58
B 1D (Official Form 1, Exhibit D) (12/09)
                                                                 United States Bankruptcy Court
                                                                                     District of Arizona
             Travis Val Cote
 In re       Alexis Lorraine Cote                                                                          Case No.
                                                                                             Debtor(s)     Chapter    7




                   EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                   CREDIT COUNSELING REQUIREMENT
       Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court
can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your
creditors will be able to resume collection activities against you. If your case is dismissed and you file
another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
extra steps to stop creditors' collection activities.
        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete
and file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.

           1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and I have
a certificate from the agency describing the services provided to me. Attach a copy of the certificate and a copy
of any debt repayment plan developed through the agency.

           2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but I do
not have a certificate from the agency describing the services provided to me. You must file a copy of a
certificate from the agency describing the services provided to you and a copy of any debt repayment plan
developed through the agency no later than 14 days after your bankruptcy case is filed.
          3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the seven days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case
now. [Summarize exigent circumstances here.]
       If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from the
agency that provided the counseling, together with a copy of any debt management plan developed
through the agency. Failure to fulfill these requirements may result in dismissal of your case. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days.
Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy
case without first receiving a credit counseling briefing.


Software Copyright (c) 1996-2010 Best Case Solutions - Evanston, IL - bestcase.com                                        Best Case Bankruptcy




            Case 4:10-bk-23768-JMM                                Doc 1 Filed 07/29/10 Entered 07/29/10 10:44:52          Desc
                                                                  Main Document Page 4 of 58
B 1D (Official Form 1, Exhibit D) (12/09) - Cont.                                                                                   Page 2



          4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
                  Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or
       mental deficiency so as to be incapable of realizing and making rational decisions with respect to
       financial responsibilities.);
                  Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
       unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
       through the Internet.);
                  Active military duty in a military combat zone.
         5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.
              I certify under penalty of perjury that the information provided above is true and correct.

                                                          Signature of Debtor:             /s/ Travis Val Cote
                                                                                           Travis Val Cote
                                                          Date:            July 29, 2010




Software Copyright (c) 1996-2010 Best Case Solutions - Evanston, IL - bestcase.com                                          Best Case Bankruptcy




              Case 4:10-bk-23768-JMM                                      Doc 1 Filed 07/29/10 Entered 07/29/10 10:44:52   Desc
                                                                          Main Document Page 5 of 58
B 1D (Official Form 1, Exhibit D) (12/09)
                                                                 United States Bankruptcy Court
                                                                                     District of Arizona
             Travis Val Cote
 In re       Alexis Lorraine Cote                                                                          Case No.
                                                                                             Debtor(s)     Chapter    7




                   EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                   CREDIT COUNSELING REQUIREMENT
       Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court
can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your
creditors will be able to resume collection activities against you. If your case is dismissed and you file
another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
extra steps to stop creditors' collection activities.
        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete
and file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.

           1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and I have
a certificate from the agency describing the services provided to me. Attach a copy of the certificate and a copy
of any debt repayment plan developed through the agency.

           2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but I do
not have a certificate from the agency describing the services provided to me. You must file a copy of a
certificate from the agency describing the services provided to you and a copy of any debt repayment plan
developed through the agency no later than 14 days after your bankruptcy case is filed.
          3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the seven days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case
now. [Summarize exigent circumstances here.]
       If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from the
agency that provided the counseling, together with a copy of any debt management plan developed
through the agency. Failure to fulfill these requirements may result in dismissal of your case. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days.
Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy
case without first receiving a credit counseling briefing.


Software Copyright (c) 1996-2010 Best Case Solutions - Evanston, IL - bestcase.com                                        Best Case Bankruptcy




            Case 4:10-bk-23768-JMM                                Doc 1 Filed 07/29/10 Entered 07/29/10 10:44:52          Desc
                                                                  Main Document Page 6 of 58
B 1D (Official Form 1, Exhibit D) (12/09) - Cont.                                                                                   Page 2



          4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
                  Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or
       mental deficiency so as to be incapable of realizing and making rational decisions with respect to
       financial responsibilities.);
                  Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
       unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
       through the Internet.);
                  Active military duty in a military combat zone.
         5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.
              I certify under penalty of perjury that the information provided above is true and correct.

                                                          Signature of Debtor:             /s/ Alexis Lorraine Cote
                                                                                           Alexis Lorraine Cote
                                                          Date:            July 29, 2010




Software Copyright (c) 1996-2010 Best Case Solutions - Evanston, IL - bestcase.com                                          Best Case Bankruptcy




              Case 4:10-bk-23768-JMM                                      Doc 1 Filed 07/29/10 Entered 07/29/10 10:44:52   Desc
                                                                          Main Document Page 7 of 58
B6 Summary (Official Form 6 - Summary) (12/07)


          }
          b
          k
          1
          {
          F
          o
          r
          m
          6
          .
          S
          u
          a
          y
          f
          c
          h
          e
          d
          l
          s




                                                                 United States Bankruptcy Court
                                                                                 District of Arizona
  In re          Travis Val Cote,                                                                                   Case No.
                 Alexis Lorraine Cote
                                                                                                             ,
                                                                                           Debtors                  Chapter                 7




                                                                     SUMMARY OF SCHEDULES
     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
     B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
     Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
     also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




              NAME OF SCHEDULE                            ATTACHED               NO. OF         ASSETS                 LIABILITIES           OTHER
                                                           (YES/NO)              SHEETS

A - Real Property                                                Yes                1                  157,000.00


B - Personal Property                                            Yes                4                   50,387.26


C - Property Claimed as Exempt                                   Yes                1


D - Creditors Holding Secured Claims                             Yes                1                                         179,698.73


E - Creditors Holding Unsecured                                  Yes                1                                               0.00
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                                  Yes                6                                          71,991.17
    Nonpriority Claims

G - Executory Contracts and                                      Yes                1
   Unexpired Leases

H - Codebtors                                                    Yes                1


I - Current Income of Individual                                 Yes                1                                                                4,929.53
    Debtor(s)

J - Current Expenditures of Individual                           Yes                2                                                                5,701.89
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                          19


                                                                           Total Assets                207,387.26


                                                                                              Total Liabilities               251,689.90




                Case 4:10-bk-23768-JMM                                Doc 1 Filed 07/29/10 Entered 07/29/10 10:44:52                       Desc
                                                                      Main Document Page 8 of 58
Software Copyright (c) 1996-2010 - Best Case Solutions - Evanston, IL - www.bestcase.com                                                   Best Case Bankruptcy
Form 6 - Statistical Summary (12/07)


          }
          e
          b
          k
          r
          {
          t
          1
          a
          i
          F
          n
          o
          L
          m
          6
          .
          l
          S
          s
          c
          d
          R
          u
          y
          D
          f
          C




                                                                 United States Bankruptcy Court
                                                                                 District of Arizona
  In re           Travis Val Cote,                                                                                         Case No.
                  Alexis Lorraine Cote
                                                                                                                ,
                                                                                             Debtors                       Chapter           7


               STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
          If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
          a case under chapter 7, 11 or 13, you must report all information requested below.

                   Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                   report any information here.

          This information is for statistical purposes only under 28 U.S.C. § 159.
          Summarize the following types of liabilities, as reported in the Schedules, and total them.


              Type of Liability                                                                        Amount

              Domestic Support Obligations (from Schedule E)                                                            0.00

              Taxes and Certain Other Debts Owed to Governmental Units
              (from Schedule E)
                                                                                                                        0.00

              Claims for Death or Personal Injury While Debtor Was Intoxicated
              (from Schedule E) (whether disputed or undisputed)
                                                                                                                        0.00

              Student Loan Obligations (from Schedule F)                                                                0.00

              Domestic Support, Separation Agreement, and Divorce Decree
              Obligations Not Reported on Schedule E
                                                                                                                        0.00

              Obligations to Pension or Profit-Sharing, and Other Similar Obligations
              (from Schedule F)
                                                                                                                        0.00

                                                                                     TOTAL                              0.00


              State the following:

              Average Income (from Schedule I, Line 16)                                                             4,929.53

              Average Expenses (from Schedule J, Line 18)                                                           5,701.89

              Current Monthly Income (from Form 22A Line 12; OR,
              Form 22B Line 11; OR, Form 22C Line 20 )                                                              6,606.79


              State the following:
              1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                  column
                                                                                                                                       3,125.00

              2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                  column
                                                                                                                        0.00

              3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                  PRIORITY, IF ANY" column
                                                                                                                                           0.00

              4. Total from Schedule F                                                                                                71,991.17

              5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                            75,116.17




                 Case 4:10-bk-23768-JMM                               Doc 1 Filed 07/29/10 Entered 07/29/10 10:44:52                       Desc
                                                                      Main Document Page 9 of 58
Software Copyright (c) 1996-2010 - Best Case Solutions - Evanston, IL - www.bestcase.com                                                    Best Case Bankruptcy
B6A (Official Form 6A) (12/07)


         }
         b
         k
         1
         {
         S
         c
         h
         e
         d
         u
         l
         A
         -
         R
         a
         P
         r
         o
         p
         t
         y




 In re        Travis Val Cote,                                                                            Case No.
              Alexis Lorraine Cote
                                                                                                ,
                                                                             Debtors
                                                 SCHEDULE A - REAL PROPERTY
        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."
        Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                               Husband,    Current Value of
                                                                   Nature of Debtor's           Wife,     Debtor's Interest in              Amount of
              Description and Location of Property                 Interest in Property         Joint, or  Property, without               Secured Claim
                                                                                              Community Deducting  any Secured
                                                                                                          Claim or Exemption

Primary Residence:                                                 Fee Simple                       W                  157,000.00                 150,698.73
120 North Pottebaum Avenue
Casa Grande, AZ 85122
Jointly owned with Lorraine Schall




                                                                                                 Sub-Total >          157,000.00           (Total of this page)

                                                                                                      Total >         157,000.00
 0     continuation sheets attached to the Schedule of Real Property
                                                                                                 (Report also on Summary of Schedules)
             Case 4:10-bk-23768-JMM                                      Doc 1 Filed 07/29/10 Entered 07/29/10 10:44:52                 Desc
                                                                       Main Document Page 10 of 58
Software Copyright (c) 1996-2010 - Best Case Solutions - Evanston, IL - www.bestcase.com                                                  Best Case Bankruptcy
B6B (Official Form 6B) (12/07)


          }
          k
          b
          {
          1
          S
          c
          h
          e
          d
          u
          l
          B
          -
          P
          r
          s
          o
          n
          a
          p
          t
          y




  In re          Travis Val Cote,                                                                                           Case No.
                 Alexis Lorraine Cote
                                                                                                                ,
                                                                                               Debtors
                                                         SCHEDULE B - PERSONAL PROPERTY
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                            N                                                                      Husband,        Current Value of
                Type of Property                            O                       Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                            N                                                                       Joint, or   without Deducting any
                                                            E                                                                     Community Secured Claim or Exemption

1.    Cash on hand                                              Cash on Hand                                                           C                            20.00

2.    Checking, savings or other financial                      Great Western Bank Checking Account No.                                C                            20.00
      accounts, certificates of deposit, or                     XXXX4937
      shares in banks, savings and loan,
      thrift, building and loan, and                            Chase Bank Checking Acccount No. XXXX5323                              C                            50.00
      homestead associations, or credit
      unions, brokerage houses, or                              Bank of America Checking Account No. XXXX3249                          C                           100.00
      cooperatives.
                                                                Bank of America Savings Account No. XXXX8787                           C                              0.00

3.    Security deposits with public                         X
      utilities, telephone companies,
      landlords, and others.

4.    Household goods and furnishings,                          Household Goods and Furnishings consist of:                            C                        2,395.00
      including audio, video, and                               Stove/Oven ($50); Dishwasher ($75); Microwave
      computer equipment.                                       ($50); Refrigerator ($100); Freezer ($60);
                                                                Kitchenware ($200); Washer/Dryer ($400); Dining
                                                                Table and Chairs ($150); Lamps, Mirrors, Clocks
                                                                ($40); Living Room Furniture ($600); Television(s)
                                                                ($300); Bed ($300); Nightstands ($20); Computer
                                                                ($50);

                                                                Entertainment Center ($40); CD/DVD Player ($30);                       C                            70.00

                                                                Printer ($20); Desk/Office Furniture ($20);                            C                            70.00
                                                                Lawnmower ($20); Yard Tools and Equipment ($10)

5.    Books, pictures and other art                             Books                                                                  C                              5.00
      objects, antiques, stamp, coin,
      record, tape, compact disc, and                           Pictures                                                               C                            10.00
      other collections or collectibles.
                                                                Music, Movies Collection                                               C                            20.00

6.    Wearing apparel.                                          Wearing Apparel                                                        C                           200.00

7.    Furs and jewelry.                                         Wedding Rings                                                          C                           200.00

                                                                Watches                                                                C                            40.00

                                                                                                                                       Sub-Total >            3,200.00
                                                                                                                           (Total of this page)

  3     continuation sheets attached to the Schedule of Personal Property
                Case 4:10-bk-23768-JMM                               Doc 1 Filed 07/29/10 Entered 07/29/10 10:44:52                                     Desc
                                                                    Main Document Page 11 of 58
Software Copyright (c) 1996-2010 - Best Case Solutions - Evanston, IL - www.bestcase.com                                                                  Best Case Bankruptcy
B6B (Official Form 6B) (12/07) - Cont.




  In re          Travis Val Cote,                                                                                           Case No.
                 Alexis Lorraine Cote
                                                                                                                ,
                                                                                                Debtors
                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                                       (Continuation Sheet)

                                                            N                                                                      Husband,        Current Value of
                Type of Property                            O                       Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                            N                                                                       Joint, or   without Deducting any
                                                            E                                                                     Community Secured Claim or Exemption

8.    Firearms and sports, photographic,                        Bicycles                                                               C                            20.00
      and other hobby equipment.

9.    Interests in insurance policies.                          Term Life Insurance with Employer - Wife's                             C                              0.00
      Name insurance company of each
      policy and itemize surrender or
      refund value of each.

10. Annuities. Itemize and name each                        X
    issuer.

11. Interests in an education IRA as                        X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh, or                          401(k) with Employer - Wife's                                          C                        1,142.26
    other pension or profit sharing
    plans. Give particulars.                                    Retirement - Husband's                                                 C                      43,000.00

13. Stock and interests in incorporated                     X
    and unincorporated businesses.
    Itemize.

14. Interests in partnerships or joint                      X
    ventures. Itemize.

15. Government and corporate bonds                          X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                                    X

17. Alimony, maintenance, support, and                          Claim against David Noe, 1441 E. Avenida Kino,                         C                              0.00
    property settlements to which the                           Casa Grande, AZ for Child Support at $220.00 per
    debtor is or may be entitled. Give                          month. No payments received in 2010.
    particulars.

18. Other liquidated debts owed to debtor X
    including tax refunds. Give particulars.


19. Equitable or future interests, life                     X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.


                                                                                                                                       Sub-Total >          44,162.26
                                                                                                                           (Total of this page)

Sheet 1 of 3          continuation sheets attached
to the Schedule of Personal Property
                Case 4:10-bk-23768-JMM                               Doc 1 Filed 07/29/10 Entered 07/29/10 10:44:52                                     Desc
                                                                    Main Document Page 12 of 58
Software Copyright (c) 1996-2010 - Best Case Solutions - Evanston, IL - www.bestcase.com                                                                  Best Case Bankruptcy
B6B (Official Form 6B) (12/07) - Cont.




  In re          Travis Val Cote,                                                                                           Case No.
                 Alexis Lorraine Cote
                                                                                                                ,
                                                                                                Debtors
                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                                       (Continuation Sheet)

                                                            N                                                                      Husband,        Current Value of
                Type of Property                            O                       Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                            N                                                                       Joint, or   without Deducting any
                                                            E                                                                     Community Secured Claim or Exemption

20. Contingent and noncontingent                            X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.

21. Other contingent and unliquidated                           Judgment against Tiffany & Jeffrey Gillespie, 10503                    C                              0.00
    claims of every nature, including                           West Tamada Street, Casa Grande, AZ 85222 for
    tax refunds, counterclaims of the                           Forcible Detainer. Judgment date: 09/17/2009.
    debtor, and rights to setoff claims.                        $2,816.00.
    Give estimated value of each.

22. Patents, copyrights, and other                          X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                         X
    general intangibles. Give
    particulars.

24. Customer lists or other compilations                    X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                          2004 Toyota Tacoma TRD 4D                                              W                        3,025.00
    other vehicles and accessories.                             Good Condition - 45,000 Miles
                                                                Jointly owned with Zachary D. Ortiz
                                                                Value = $6,050.00. Debtor's Interest = 50%

26. Boats, motors, and accessories.                         X

27. Aircraft and accessories.                               X

28. Office equipment, furnishings, and                      X
    supplies.

29. Machinery, fixtures, equipment, and                     X
    supplies used in business.

30. Inventory.                                              X

31. Animals.                                                X

32. Crops - growing or harvested. Give                      X
    particulars.



                                                                                                                                       Sub-Total >            3,025.00
                                                                                                                           (Total of this page)

Sheet 2 of 3          continuation sheets attached
to the Schedule of Personal Property
                Case 4:10-bk-23768-JMM                               Doc 1 Filed 07/29/10 Entered 07/29/10 10:44:52                                     Desc
                                                                    Main Document Page 13 of 58
Software Copyright (c) 1996-2010 - Best Case Solutions - Evanston, IL - www.bestcase.com                                                                  Best Case Bankruptcy
B6B (Official Form 6B) (12/07) - Cont.




 In re         Travis Val Cote,                                                                    Case No.
               Alexis Lorraine Cote
                                                                                       ,
                                                                      Debtors
                                          SCHEDULE B - PERSONAL PROPERTY
                                                             (Continuation Sheet)

                                            N                                                             Husband,        Current Value of
              Type of Property              O              Description and Location of Property            Wife,     Debtor's Interest in Property,
                                            N                                                              Joint, or   without Deducting any
                                            E                                                            Community Secured Claim or Exemption

33. Farming equipment and                   X
    implements.

34. Farm supplies, chemicals, and feed.     X

35. Other personal property of any kind     X
    not already listed. Itemize.




                                                                                                              Sub-Total >                  0.00
                                                                                                  (Total of this page)
                                                                                                                   Total >         50,387.26
Sheet 3 of 3          continuation sheets attached
to the Schedule of Personal Property                                                                          (Report also on Summary of Schedules)
              Case 4:10-bk-23768-JMM                                     Doc 1 Filed 07/29/10 Entered 07/29/10 10:44:52        Desc
                                                                       Main Document Page 14 of 58
Software Copyright (c) 1996-2010 - Best Case Solutions - Evanston, IL - www.bestcase.com                                         Best Case Bankruptcy
 B6C (Official Form 6C) (4/10)


           E
           }
           x
           b
           e
           k
           m
           1
           p
           {
           t
           S
           c
           h
           d
           u
           l
           C
           -
           P
           r
           o
           y
           a
           i
           s




   In re          Travis Val Cote,                                                                                             Case No.
                  Alexis Lorraine Cote
                                                                                                                   ,
                                                                                                Debtors
                                             SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
 Debtor claims the exemptions to which debtor is entitled under:                                          Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                          $146,450. (Amount subject to adjustment on 4/1/13, and every three years thereafter
    11 U.S.C. §522(b)(2)                                                                                               with respect to cases commenced on or after the date of adjustment.)
    11 U.S.C. §522(b)(3)

                                                                                        Specify Law Providing                         Value of                 Current Value of
                    Description of Property                                                Each Exemption                             Claimed                  Property Without
                                                                                                                                     Exemption               Deducting Exemption
Real Property
Primary Residence:                                                             Ariz. Rev. Stat. § 33-1101(A)                                 6,301.27                      157,000.00
120 North Pottebaum Avenue
Casa Grande, AZ 85122
Jointly owned with Lorraine Schall

Checking, Savings, or Other Financial Accounts, Certificates of Deposit
Bank of America Checking Account No.              Ariz. Rev. Stat. § 33-1126A9                                                                  100.00                           100.00
XXXX3249

Household Goods and Furnishings
Household Goods and Furnishings consist of:                                    Ariz. Rev. Stat. § 33-1123                                    2,395.00                         2,395.00
Stove/Oven ($50); Dishwasher ($75); Microwave
($50); Refrigerator ($100); Freezer ($60);
Kitchenware ($200); Washer/Dryer ($400);
Dining Table and Chairs ($150); Lamps, Mirrors,
Clocks ($40); Living Room Furniture ($600);
Television(s) ($300); Bed ($300); Nightstands
($20); Computer ($50);

Books, Pictures and Other Art Objects; Collectibles
Books                                               Ariz. Rev. Stat. § 33-1125(5)                                                                  5.00                             5.00

Pictures                                                                       Ariz. Rev. Stat. § 33-1123(10)                                    10.00                            10.00

Wearing Apparel
Wearing Apparel                                                                Ariz. Rev. Stat. § 33-1125(1)                                    200.00                           200.00

Furs and Jewelry
Wedding Rings                                                                  Ariz. Rev. Stat. § 33-1125(4)                                    200.00                           200.00

Watches                                                                        Ariz. Rev. Stat. § 33-1125(6)                                     40.00                            40.00

Firearms and Sports, Photographic and Other Hobby Equipment
Bicycles                                        Ariz. Rev. Stat. § 33-1125(7)                                                                    20.00                            20.00

Interests in IRA, ERISA, Keogh, or Other Pension or Profit Sharing Plans
401(k) with Employer - Wife's                       Ariz. Rev. Stat. § 33-1126B                                                              1,142.26                         1,142.26

Retirement - Husband's                                                         Ariz. Rev. Stat. § 33-1126B                                 43,000.00                        43,000.00

Automobiles, Trucks, Trailers, and Other Vehicles
2004 Toyota Tacoma TRD 4D                                                      Ariz. Rev. Stat. § 33-1125(8)                                 3,025.00                         3,025.00
Good Condition - 45,000 Miles
Jointly owned with Zachary D. Ortiz
Value = $6,050.00. Debtor's Interest = 50%




                                                                                                                   Total:                  56,438.53                       207,137.26
    0      continuation
                Casesheets  attached to Schedule of Property
                        4:10-bk-23768-JMM              Doc Claimed as Exempt
                                                             1 Filed    07/29/10                          Entered 07/29/10 10:44:52                                 Desc
                                                                     Main Document
 Software Copyright (c) 1996-2010 - Best Case Solutions - Evanston, IL - www.bestcase.com
                                                                                                    Page 15 of 58                                                     Best Case Bankruptcy
 B6D (Official Form 6D) (12/07)


           }
           e
           b
           c
           k
           u
           1
           r
           {
           S
           d
           h
           C
           l
           a
           i
           m
           s
           D
           -
           t
           o
           H
           n
           g




   In re          Travis Val Cote,                                                                                               Case No.
                  Alexis Lorraine Cote
                                                                                                                    ,
                                                                                                   Debtors
                                    SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
 creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                              C   Husband, Wife, Joint, or Community                         C    U   D     AMOUNT OF
              CREDITOR'S NAME                                 O                                                              O    N   I
                                                              D   H      DATE CLAIM WAS INCURRED,                            N    L   S        CLAIM
           AND MAILING ADDRESS                                E                                                              T    I   P       WITHOUT        UNSECURED
            INCLUDING ZIP CODE,                               B   W         NATURE OF LIEN, AND                              I    Q   U                      PORTION, IF
                                                              T   J       DESCRIPTION AND VALUE                              N    U   T
                                                                                                                                             DEDUCTING
           AND ACCOUNT NUMBER                                 O                                                              G    I   E       VALUE OF          ANY
             (See instructions above.)
                                                                  C              OF PROPERTY
                                                              R
                                                                              SUBJECT TO LIEN
                                                                                                                             E    D   D     COLLATERAL
                                                                                                                             N    A
                                                                                                                             T    T
Account No. xxxxxx6071                                            12/19/2008; Monthly Payments:                                   E
                                                                  $1,227.16; Arrears = 0 Months                                   D

JP Morgan Chase Bank                                              Mortgage
1400 E. Newport Center Drive                                      Primary Residence:
                                                                  120 North Pottebaum Avenue
Deerfield Beach, FL 33442
                                                              X J Casa Grande, AZ 85122
                                                                  Jointly owned with Lorraine Schall
                                                                       Value $                           157,000.00                           150,698.73                   0.00
Account No.                                                           09/26/2009

Zachary D. Ortiz                                                      Vehicle Loan
1361 East Colorado Loop
Casa Grande, AZ 85122                                                 2007 GMC Yukon.
                                                                  C

                                                                       Value $                               25,875.00                         29,000.00             3,125.00
Account No.




                                                                       Value $
Account No.




                                                                       Value $
                                                                                                                          Subtotal
 0
_____ continuation sheets attached                                                                                                            179,698.73             3,125.00
                                                                                                                 (Total of this page)
                                                                                                                           Total              179,698.73             3,125.00
                                                                                                 (Report on Summary of Schedules)
                 Case 4:10-bk-23768-JMM                                Doc 1 Filed 07/29/10 Entered 07/29/10 10:44:52                                      Desc
                                                                      Main Document Page 16 of 58
 Software Copyright (c) 1996-2010 - Best Case Solutions - Evanston, IL - www.bestcase.com                                                                  Best Case Bankruptcy
B6E (Official Form 6E) (4/10)


         }
         n
         b
         s
         k
         e
         1
         c
         {
         u
         S
         r
         h
         d
         P
         l
         i
         o
         E
         t
         -
         y
         C
         a
         m
         H
         g
         U




 In re         Travis Val Cote,                                                                                                   Case No.
               Alexis Lorraine Cote
                                                                                                                     ,
                                                                                               Debtors
                  SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
          A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
    to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
    account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
    continuation sheet for each type of priority and label each with the type of priority.
          The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
    so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
    Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
          If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
    schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
    liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
    column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
    "Disputed." (You may need to place an "X" in more than one of these three columns.)
          Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
    "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
          Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
    listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total
    also on the Statistical Summary of Certain Liabilities and Related Data.
          Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
    priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this
    total also on the Statistical Summary of Certain Liabilities and Related Data.

         Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

    TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
         Domestic support obligations
        Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
    of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

         Extensions of credit in an involuntary case
        Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a
    trustee or the order for relief. 11 U.S.C. § 507(a)(3).

         Wages, salaries, and commissions
        Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
    representatives up to $11,725* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
    occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

         Contributions to employee benefit plans
       Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
    whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

         Certain farmers and fishermen
         Claims of certain farmers and fishermen, up to $5,775* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

         Deposits by individuals
        Claims of individuals up to $2,600* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
    delivered or provided. 11 U.S.C. § 507(a)(7).

         Taxes and certain other debts owed to governmental units
         Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

         Commitments to maintain the capital of an insured depository institution
       Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
    Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

         Claims for death or personal injury while debtor was intoxicated
       Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
    another substance. 11 U.S.C. § 507(a)(10).




    * Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                            0         continuation sheets attached
              Case 4:10-bk-23768-JMM                                     Doc 1 Filed 07/29/10 Entered 07/29/10 10:44:52                                    Desc
                                                                       Main Document Page 17 of 58
Software Copyright (c) 1996-2010 - Best Case Solutions - Evanston, IL - www.bestcase.com                                                                    Best Case Bankruptcy
 B6F (Official Form 6F) (12/07)


           }
           n
           b
           s
           k
           e
           1
           c
           {
           u
           S
           r
           h
           d
           N
           o
           l
           p
           F
           i
           -
           C
           t
           y
           a
           m
           H
           g
           U




   In re          Travis Val Cote,                                                                                       Case No.
                  Alexis Lorraine Cote
                                                                                                                     ,
                                                                                                   Debtors

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
 parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not
 include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.


       Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                            C   Husband, Wife, Joint, or Community                          C   U   D
                    CREDITOR'S NAME,                                        O                                                               O   N   I
                    MAILING ADDRESS                                         D   H                                                           N   L   S
                  INCLUDING ZIP CODE,                                       E                 DATE CLAIM WAS INCURRED AND                   T   I   P
                                                                                W
                 AND ACCOUNT NUMBER
                                                                            B               CONSIDERATION FOR CLAIM. IF CLAIM               I   Q   U
                                                                                                                                                        AMOUNT OF CLAIM
                                                                            T   J                                                           N   U   T
                                                                            O                 IS SUBJECT TO SETOFF, SO STATE.               G   I   E
                   (See instructions above.)                                R
                                                                                C
                                                                                                                                            E   D   D
                                                                                                                                            N   A
Account No. 087                                                                     2008                                                    T   T
                                                                                                                                                E
                                                                                    HOA Assessment for 1492 E. 12th Place, Casa                 D

Acadia Landing                                                                      Grande, AZ 85222
P.O. Box 4171                                                                   C
Mesa, AZ 85211

                                                                                                                                                                          97.25
Account No.                                                                         Co-Defendant in Lawsuit CV-09-2650-PHX-SRB

Andrew Goode
2328 W. Peggy Drive                                                             H                                                                   X
Queen Creek, AZ 85242

                                                                                                                                                                     Unknown
Account No. 8142                                                                    09/2008
                                                                                    Repossessed 2005 Chevrolet Tahoe Truck
Arizona Central Credit Union
3611 N. Black Canyon Hwy                                                        C
Phoenix, AZ 85015

                                                                                                                                                                     Unknown
Account No. 2561                                                                    1999
                                                                                    Credit Card Purchases
Capital One
Attn: C/O TSYS Debt Management                                                  C
P.O. Box 5155
Norcross, GA 30091
                                                                                                                                                                     Unknown

                                                                                                                                        Subtotal
 5
_____ continuation sheets attached                                                                                                                                        97.25
                                                                                                                              (Total of this page)




                 Case 4:10-bk-23768-JMM                               Doc 1 Filed 07/29/10 Entered 07/29/10 10:44:52 Desc
                                                                     Main Document Page 18 of 58
 Software Copyright (c) 1996-2010 - Best Case Solutions - Evanston, IL - www.bestcase.com                    S/N:37221-100726 Best Case Bankruptcy
 B6F (Official Form 6F) (12/07) - Cont.




   In re          Travis Val Cote,                                                                                       Case No.
                  Alexis Lorraine Cote
                                                                                                                     ,
                                                                                                   Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                        (Continuation Sheet)




                                                                            C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                        O                                                           O   N   I
                    MAILING ADDRESS                                         D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
                                                                            E
                                                                                W
                                                                                              DATE CLAIM WAS INCURRED AND               T   I   P
                                                                            B                                                           I   Q   U
                 AND ACCOUNT NUMBER                                         T   J           CONSIDERATION FOR CLAIM. IF CLAIM           N   U   T   AMOUNT OF CLAIM
                                                                            O   C             IS SUBJECT TO SETOFF, SO STATE.           G   I   E
                   (See instructions above.)                                R                                                           E   D   D
                                                                                                                                        N   A
                                                                                                                                        T   T
Account No. xxxx-xxxx-xxxx-5811                                                     2010                                                    E
                                                                                    Credit Card Purchases                                   D

Capital One Bank
P.O. Box 71083                                                                  C
Charlotte, NC 28272-1085

                                                                                                                                                                    97.67
Account No.                                                                         Co-Defendant in Lawsuit CV-09-2650-PHX-SRB

Carol Lee Dixon
P.O. Box 11152                                                                  H                                                               X
Casa Grande, AZ 85130

                                                                                                                                                               Unknown
Account No. xxxx6770                                                                02/04/2010
                                                                                    Medical Services
Casa Grande Regional Medical Ctr.
P.O. Box 11890                                                                  C
Casa Grande, AZ 85130-1890

                                                                                                                                                                  224.78
Account No. 9070                                                                    03/2005
                                                                                    Foreclosed home located at 1492 E. 12th
CitiMortgage                                                                        Place, Casa Grande, AZ
Attn: Bankrutpcy                                                                C
P.o. Box 79022, MS322
Saint Louis, MO 63179
                                                                                                                                                               Unknown
Account No. 9370                                                                    10/2007
                                                                                    Repossessed 2006 Ford F-350 Truck
Desert Schools Federal Credit Union
P.O. Box 11350                                                                  C
Phoenix, AZ 85061

                                                                                                                                                               Unknown

           1
Sheet no. _____     5
                of _____ sheets attached to Schedule of                                                                               Subtotal
                                                                                                                                                                  322.45
Creditors Holding Unsecured Nonpriority Claims                                                                              (Total of this page)




                 Case 4:10-bk-23768-JMM                               Doc 1 Filed 07/29/10 Entered 07/29/10 10:44:52                                 Desc
                                                                     Main Document Page 19 of 58
 Software Copyright (c) 1996-2010 - Best Case Solutions - Evanston, IL - www.bestcase.com                                                             Best Case Bankruptcy
 B6F (Official Form 6F) (12/07) - Cont.




   In re          Travis Val Cote,                                                                                       Case No.
                  Alexis Lorraine Cote
                                                                                                                     ,
                                                                                                   Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                        (Continuation Sheet)




                                                                            C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                        O                                                           O   N   I
                    MAILING ADDRESS                                         D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
                                                                            E
                                                                                W
                                                                                              DATE CLAIM WAS INCURRED AND               T   I   P
                                                                            B                                                           I   Q   U
                 AND ACCOUNT NUMBER                                         T   J           CONSIDERATION FOR CLAIM. IF CLAIM           N   U   T   AMOUNT OF CLAIM
                                                                            O   C             IS SUBJECT TO SETOFF, SO STATE.           G   I   E
                   (See instructions above.)                                R                                                           E   D   D
                                                                                                                                        N   A
                                                                                                                                        T   T
Account No. 1085                                                                    2006 thru 2009                                          E
                                                                                    Credit Card Purchases                                   D

Discover Financial
Attn: Bankruptcy                                                                C
P.O. Box 3025
New Albany, OH 43054
                                                                                                                                                                2,538.00
Account No.                                                                         Co-Defendant in Lawsuit CV-09-2650-PHX-SRB

Eli Pile
Deputy Sheriff                                                                  H
971 North Jason Lopez Circle
Florence, AZ 85132
                                                                                                                                                                      0.00
Account No. 6098                                                                    2006 thru 02/2009
                                                                                    Credit Card Purchases
GECCCC
345 Saint Peter Street                                                          C
Saint Paul, MN 55102

                                                                                                                                                              21,851.00
Account No. 1659                                                                    2007 thru 2009
                                                                                    Credit Card Purchases
GEMB Financing
P.o. Box 981439                                                                 C
El Paso, TX 79998

                                                                                                                                                              15,538.00
Account No.                                                                         Repossessed 2003 Honda DTX Motorcycle

Honda Financial Services
P.O. Box 1027                                                                   C
Phoenix, AZ 85062-8234

                                                                                                                                                               Unknown

           2
Sheet no. _____     5
                of _____ sheets attached to Schedule of                                                                               Subtotal
                                                                                                                                                              39,927.00
Creditors Holding Unsecured Nonpriority Claims                                                                              (Total of this page)




                 Case 4:10-bk-23768-JMM                               Doc 1 Filed 07/29/10 Entered 07/29/10 10:44:52                                 Desc
                                                                     Main Document Page 20 of 58
 Software Copyright (c) 1996-2010 - Best Case Solutions - Evanston, IL - www.bestcase.com                                                             Best Case Bankruptcy
 B6F (Official Form 6F) (12/07) - Cont.




   In re          Travis Val Cote,                                                                                       Case No.
                  Alexis Lorraine Cote
                                                                                                                     ,
                                                                                                   Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                        (Continuation Sheet)




                                                                            C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                        O                                                           O   N   I
                    MAILING ADDRESS                                         D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
                                                                            E
                                                                                W
                                                                                              DATE CLAIM WAS INCURRED AND               T   I   P
                                                                            B                                                           I   Q   U
                 AND ACCOUNT NUMBER                                         T   J           CONSIDERATION FOR CLAIM. IF CLAIM           N   U   T   AMOUNT OF CLAIM
                                                                            O   C             IS SUBJECT TO SETOFF, SO STATE.           G   I   E
                   (See instructions above.)                                R                                                           E   D   D
                                                                                                                                        N   A
                                                                                                                                        T   T
Account No. 1976                                                                    05/2007                                                 E
                                                                                    Repossessed 2007 Suzuki Motorcycle                      D

HSBC/Suzuki
P.O. Box 15521                                                                  C
Wilmington, DE 19805

                                                                                                                                                               Unknown
Account No. xxx-xxx9-391                                                            2009
                                                                                    Credit Card Purchases
Kohl's
P.O. Box 2983                                                                   C
Milwaukee, WI 53201

                                                                                                                                                                  339.54
Account No. xxxx xx. xx-xxxx-xxX-SRB                                                2009
                                                                                    Lawsuit
Mark E. Dixon
P.O. Box 12695                                                                  C                                                               X
Casa Grande, AZ 85130

                                                                                                                                                               Unknown
Account No.                                                                         Co-Defendant in Lawsuit CV-09-2650-PHX-SRB

Philip Leblanc
P.O. Box 2172                                                                   C                                                               X
Arizona City, AZ 85223

                                                                                                                                                                      0.00
Account No. x6700                                                                   2009
                                                                                    Real Estate Taxes on foreclosed property
Pinal County Treasurer
P.Ol Box 729                                                                    C
Florence, AZ 85232

                                                                                                                                                                1,429.56

           3
Sheet no. _____     5
                of _____ sheets attached to Schedule of                                                                               Subtotal
                                                                                                                                                                1,769.10
Creditors Holding Unsecured Nonpriority Claims                                                                              (Total of this page)




                 Case 4:10-bk-23768-JMM                               Doc 1 Filed 07/29/10 Entered 07/29/10 10:44:52                                 Desc
                                                                     Main Document Page 21 of 58
 Software Copyright (c) 1996-2010 - Best Case Solutions - Evanston, IL - www.bestcase.com                                                             Best Case Bankruptcy
 B6F (Official Form 6F) (12/07) - Cont.




   In re          Travis Val Cote,                                                                                       Case No.
                  Alexis Lorraine Cote
                                                                                                                     ,
                                                                                                   Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                        (Continuation Sheet)




                                                                            C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                        O                                                           O   N   I
                    MAILING ADDRESS                                         D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
                                                                            E
                                                                                W
                                                                                              DATE CLAIM WAS INCURRED AND               T   I   P
                                                                            B                                                           I   Q   U
                 AND ACCOUNT NUMBER                                         T   J           CONSIDERATION FOR CLAIM. IF CLAIM           N   U   T   AMOUNT OF CLAIM
                                                                            O   C             IS SUBJECT TO SETOFF, SO STATE.           G   I   E
                   (See instructions above.)                                R                                                           E   D   D
                                                                                                                                        N   A
                                                                                                                                        T   T
Account No. xxx5013                                                                 2006                                                    E
                                                                                    Collection for Telephone Services                       D

Pinnacle Credit Services
P.O. Box 109                                                                    C
Salem, NH 03079-0109

                                                                                                                                                                  606.10
Account No.

Stephens and Michaels Associates                                                    Additional Notice:
P.O. Box 109                                                                        Pinnacle Credit Services                                                Notice Only
Salem, NH 03079-0109



Account No. xxxx18-00                                                               02/18-2010
                                                                                    Medical Services
Sierra Orthopedics, PC
1780 E. Florence Blvd.                                                          C
Suite 106
Casa Grande, AZ 85122
                                                                                                                                                                  269.27
Account No.                                                                         Co-Defendant in Lawsuit CV-09-2650-PHX-SRB

Stephen Clark
Deputy Sheriff                                                                  H
971 North Jason Lopez Circle
Florence, AZ 85132
                                                                                                                                                                      0.00
Account No. 9330                                                                    Foreclosed home located at 1492 E. 12th
                                                                                    Place, Casa Grande, AZ
USAA Federal Savings Bank
9800 Frederickburg Road                                                         C
San Antonio, TX 78288

                                                                                                                                                                      0.00

           4
Sheet no. _____     5
                of _____ sheets attached to Schedule of                                                                               Subtotal
                                                                                                                                                                  875.37
Creditors Holding Unsecured Nonpriority Claims                                                                              (Total of this page)




                 Case 4:10-bk-23768-JMM                               Doc 1 Filed 07/29/10 Entered 07/29/10 10:44:52                                 Desc
                                                                     Main Document Page 22 of 58
 Software Copyright (c) 1996-2010 - Best Case Solutions - Evanston, IL - www.bestcase.com                                                             Best Case Bankruptcy
 B6F (Official Form 6F) (12/07) - Cont.




   In re          Travis Val Cote,                                                                                             Case No.
                  Alexis Lorraine Cote
                                                                                                                      ,
                                                                                                   Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                        (Continuation Sheet)




                                                                            C   Husband, Wife, Joint, or Community                             C   U   D
                    CREDITOR'S NAME,                                        O                                                                  O   N   I
                    MAILING ADDRESS                                         D   H                                                              N   L   S
                  INCLUDING ZIP CODE,
                                                                            E
                                                                                W
                                                                                              DATE CLAIM WAS INCURRED AND                      T   I   P
                                                                            B                                                                  I   Q   U
                 AND ACCOUNT NUMBER                                         T   J           CONSIDERATION FOR CLAIM. IF CLAIM                  N   U   T   AMOUNT OF CLAIM
                                                                            O   C             IS SUBJECT TO SETOFF, SO STATE.                  G   I   E
                   (See instructions above.)                                R                                                                  E   D   D
                                                                                                                                               N   A
                                                                                                                                               T   T
Account No.                                                                         09/26/2009                                                     E
                                                                                    2007 GMC Yukon.                                                D

Zachary D. Ortiz
1361 East Colorado Loop                                                         C
Casa Grande, AZ 85122

                                                                                                                                                                     29,000.00
Account No.




Account No.




Account No.




Account No.




           5
Sheet no. _____     5
                of _____ sheets attached to Schedule of                                                                                      Subtotal
                                                                                                                                                                     29,000.00
Creditors Holding Unsecured Nonpriority Claims                                                                                     (Total of this page)
                                                                                                                                               Total
                                                                                                                     (Report on Summary of Schedules)                71,991.17

                 Case 4:10-bk-23768-JMM                               Doc 1 Filed 07/29/10 Entered 07/29/10 10:44:52                                        Desc
                                                                     Main Document Page 23 of 58
 Software Copyright (c) 1996-2010 - Best Case Solutions - Evanston, IL - www.bestcase.com                                                                    Best Case Bankruptcy
B6G (Official Form 6G) (12/07)


           a
           }
           n
           b
           d
           k
           1
           U
           {
           S
           e
           c
           x
           h
           p
           i
           r
           u
           l
           L
           G
           -
           s
           E
           t
           o
           y
           C




  In re             Travis Val Cote,                                                                                  Case No.
                    Alexis Lorraine Cote
                                                                                                           ,
                                                                                           Debtors
                        SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
               Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
               of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
               complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
               state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
               disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                  Check this box if debtor has no executory contracts or unexpired leases.
                                                                                            Description of Contract or Lease and Nature of Debtor's Interest.
                   Name and Mailing Address, Including Zip Code,                                 State whether lease is for nonresidential real property.
                       of Other Parties to Lease or Contract                                       State contract number of any government contract.

                     Acadia Landing                                                           HOA Contract
                     P.O. Box 4171                                                            TO BE REJECTED.
                     Mesa, AZ 85211

                     LA Fitness                                                               GYM Contract
                     20246 Florence Blvd.                                                     Monthly Payments: $60.00
                     Casa Grande, AZ 85122                                                    TO BE ASSUMED.

                     Verizon                                                                  Cell Phone Contract
                     847 N. Pomenroe Parkway                                                  Monthly Payments: $165.74
                     Tucson, AZ 85722                                                         TO BE ASSUMED.

                     Zachary D. Ortiz                                                         Agreement for the use of
                     1361 East Colorado Loop                                                  2007 GMC Yukon.
                     Casa Grande, AZ 85122                                                    Monthly Payments: $800.00
                                                                                              TO BE ASSUMED.




       0
                  Case 4:10-bk-23768-JMM
                 continuation sheets attached to Schedule ofDoc  1 Contracts
                                                            Executory Filed 07/29/10
                                                                             and Unexpired Entered
                                                                                           Leases  07/29/10 10:44:52                               Desc
                                                                    Main Document
Software Copyright (c) 1996-2010 - Best Case Solutions - Evanston, IL - www.bestcase.com
                                                                                              Page 24 of 58                                          Best Case Bankruptcy
B6H (Official Form 6H) (12/07)


           }
           b
           k
           1
           {
           S
           c
           h
           e
           d
           u
           l
           H
           -
           C
           o
           t
           r
           s




  In re          Travis Val Cote,                                                                               Case No.
                 Alexis Lorraine Cote
                                                                                                        ,
                                                                                           Debtors
                                                                    SCHEDULE H - CODEBTORS
         Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
     by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
     commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
     Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
     any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
     by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
     state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
     disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
         Check this box if debtor has no codebtors.
                  NAME AND ADDRESS OF CODEBTOR                                                NAME AND ADDRESS OF CREDITOR

                  Lorraine Schall                                                             JP Morgan Chase Bank
                  8719 W. Concordia Drive                                                     1400 E. Newport Center Drive
                  Arizona City, AZ 85123                                                      Deerfield Beach, FL 33442




       0
               continuation sheets attached to Schedule ofDoc
                Case 4:10-bk-23768-JMM                     Codebtors
                                                               1 Filed 07/29/10                     Entered 07/29/10 10:44:52          Desc
                                                                    Main Document
Software Copyright (c) 1996-2010 - Best Case Solutions - Evanston, IL - www.bestcase.com
                                                                                              Page 25 of 58                             Best Case Bankruptcy
B6I (Official Form 6I) (12/07)

          Travis Val Cote
 In re    Alexis Lorraine Cote                                                                         Case No.
                                                                         Debtor(s)

                           SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.
Debtor's Marital Status:                                                  DEPENDENTS OF DEBTOR AND SPOUSE
                                        RELATIONSHIP(S):                                             AGE(S):
      Married                                Son                                                         1
                                             Daughter                                                    2
                                             Son                                                         7
Employment:                                           DEBTOR                                                    SPOUSE
Occupation                         Deputy Sheriff                                            Pharmacy Tech.
Name of Employer                   Pinal County Sheriff's Office                             Safeway, Inc.
How long employed                  14 years and 6 months                                     6 Years & 1 Month
Address of Employer                971 N. Jason Lopez Circle                                 1637 N. Trevell Rd.
                                   Florence, AZ 85232                                        Casa Grande, AZ 85122
INCOME: (Estimate of average or projected monthly income at time case filed)                                 DEBTOR                       SPOUSE
1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                          $       5,286.69           $         1,498.99
2. Estimate monthly overtime                                                                           $           0.00           $             0.00

3. SUBTOTAL                                                                                              $        5,286.69        $         1,498.99


4. LESS PAYROLL DEDUCTIONS
     a. Payroll taxes and social security                                                                $        1,003.12        $          172.34
     b. Insurance                                                                                        $          212.14        $            0.00
     c. Union dues                                                                                       $            0.00        $            0.00
     d. Other (Specify):       PS Deputies -Retirement                                                   $          421.01        $           45.37
                               Safeway Companies Employees Association Dues                              $            0.00        $            2.17

5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                        $        1,636.27        $          219.88

6. TOTAL NET MONTHLY TAKE HOME PAY                                                                       $        3,650.42        $         1,279.11

7. Regular income from operation of business or profession or farm (Attach detailed statement)           $             0.00       $             0.00
8. Income from real property                                                                             $             0.00       $             0.00
9. Interest and dividends                                                                                $             0.00       $             0.00
10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or that of
      dependents listed above                                                                            $             0.00       $             0.00
11. Social security or government assistance
(Specify):                                                                                               $             0.00       $             0.00
                                                                                                         $             0.00       $             0.00
12. Pension or retirement income                                                                         $             0.00       $             0.00
13. Other monthly income
(Specify):                                                                                               $             0.00       $             0.00
                                                                                                         $             0.00       $             0.00

14. SUBTOTAL OF LINES 7 THROUGH 13                                                                       $             0.00       $             0.00

15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                         $        3,650.42        $         1,279.11

16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15)                                         $             4,929.53
                                                                                (Report also on Summary of Schedules and, if applicable, on
                                                                                Statistical Summary of Certain Liabilities and Related Data)
 17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
         Debtor anticipates a possible 5% pay reduction within the next 12 months.



          Case 4:10-bk-23768-JMM                   Doc 1 Filed 07/29/10 Entered 07/29/10 10:44:52                                     Desc
                                                  Main Document Page 26 of 58
B6J (Official Form 6J) (12/07)

          Travis Val Cote
 In re    Alexis Lorraine Cote                                                               Case No.
                                                                  Debtor(s)

         SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
     Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time case
filed. Prorate any payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly
expenses calculated on this form may differ from the deductions from income allowed on Form 22A or 22C.

    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
expenditures labeled "Spouse."
1. Rent or home mortgage payment (include lot rented for mobile home)                                       $                1,227.15
 a. Are real estate taxes included?                            Yes X              No
 b. Is property insurance included?                            Yes X              No
2. Utilities:      a. Electricity and heating fuel                                                          $                  265.00
                   b. Water and sewer                                                                       $                   40.00
                   c. Telephone                                                                             $                   34.00
                   d. Other See Detailed Expense Attachment                                                 $                  390.74
3. Home maintenance (repairs and upkeep)                                                                    $                  100.00
4. Food                                                                                                     $                  900.00
5. Clothing                                                                                                 $                  325.00
6. Laundry and dry cleaning                                                                                 $                   20.00
7. Medical and dental expenses                                                                              $                  400.00
8. Transportation (not including car payments)                                                              $                  160.00
9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                         $                  200.00
10. Charitable contributions                                                                                $                   84.00
11. Insurance (not deducted from wages or included in home mortgage payments)
                   a. Homeowner's or renter's                                                               $                    0.00
                   b. Life                                                                                  $                    0.00
                   c. Health                                                                                $                    0.00
                   d. Auto                                                                                  $                   80.00
                   e. Other                                                                                 $                    0.00
12. Taxes (not deducted from wages or included in home mortgage payments)
                 (Specify)                                                                                  $                     0.00
13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the
plan)
                   a. Auto                                                                                  $                    0.00
                   b. Other                                                                                 $                    0.00
                   c. Other                                                                                 $                    0.00
14. Alimony, maintenance, and support paid to others                                                        $                    0.00
15. Payments for support of additional dependents not living at your home                                   $                    0.00
16. Regular expenses from operation of business, profession, or farm (attach detailed statement)            $                    0.00
17. Other See Detailed Expense Attachment                                                                   $                1,476.00

18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,                    $                5,701.89
if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year
following the filing of this document:
      Debtors anticipate incurring additional child care expenses of approximate $400 per month
      starting in August 2010. This will be in addition to the child care they already pay for the
      youngest son.

      Debtor drives a 2007 GMC Yukon which he is purchasing from his Brother, Zachary D. Ortiz.
      Debtors pay for all expenses of this automobile.
20. STATEMENT OF MONTHLY NET INCOME
a. Average monthly income from Line 15 of Schedule I                                                        $                4,929.53
b. Average monthly expenses from Line 18 above                                                              $                5,701.89
c. Monthly net income (a. minus b.)                                                                         $                 -772.36


          Case 4:10-bk-23768-JMM              Doc 1 Filed 07/29/10 Entered 07/29/10 10:44:52                           Desc
                                             Main Document Page 27 of 58
B6J (Official Form 6J) (12/07)

          Travis Val Cote
          Alexis Lorraine Cote                                                        Case No.
                                                         Debtor(s)

                   SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                           Detailed Expense Attachment
Other Utility Expenditures:
Cell Phone                                                                                       $          165.74
Internet                                                                                         $           45.00
Cable                                                                                            $          120.00
Trash Pick-Up                                                                                    $           30.00
Security Alarm                                                                                   $           30.00
Total Other Utility Expenditures                                                                 $          390.74




Other Expenditures:
Pre-paid Legal Dues                                                                              $           16.00
Union Dues                                                                                       $           30.00
Babysitter                                                                                       $          425.00
Payment to Brother for GMC Yukon which Debtor drives and is purchasing from Brother              $          500.00
Payment to Brother for GMC Yukon which Debtor drives and is purchasing from Brother              $          105.00
Daughter's School                                                                                $          400.00
Total Other Expenditures                                                                         $      1,476.00




          Case 4:10-bk-23768-JMM        Doc 1 Filed 07/29/10 Entered 07/29/10 10:44:52               Desc
                                       Main Document Page 28 of 58
B6 Declaration (Official Form 6 - Declaration). (12/07)
                                                                 United States Bankruptcy Court
                                                                                     District of Arizona
             Travis Val Cote
 In re       Alexis Lorraine Cote                                                                                       Case No.
                                                                                             Debtor(s)                  Chapter    7




                                        DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                    DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                         I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of
                21      sheets, and that they are true and correct to the best of my knowledge, information, and belief.




 Date July 29, 2010                                                           Signature      /s/ Travis Val Cote
                                                                                             Travis Val Cote
                                                                                             Debtor


 Date July 29, 2010                                                           Signature      /s/ Alexis Lorraine Cote
                                                                                             Alexis Lorraine Cote
                                                                                             Joint Debtor

    Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                     18 U.S.C. §§ 152 and 3571.




Software Copyright (c) 1996-2010 Best Case Solutions - Evanston, IL - bestcase.com                                                     Best Case Bankruptcy
            Case 4:10-bk-23768-JMM                                Doc 1 Filed 07/29/10 Entered 07/29/10 10:44:52                       Desc
                                                                 Main Document Page 29 of 58
B7 (Official Form 7) (04/10)



                                                                United States Bankruptcy Court
                                                                                 District of Arizona
             Travis Val Cote
 In re       Alexis Lorraine Cote                                                                              Case No.
                                                                                         Debtor(s)             Chapter        7


                                                        STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11
U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.


                                                                                         DEFINITIONS

          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of
the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner,
other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be "in
business" for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income
from the debtor's primary employment.

          "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or
equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11
U.S.C. § 101.


               1. Income from employment or operation of business

    None       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
               business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
               year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
               calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
               report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                          AMOUNT                                  SOURCE
                          $36,631.59                              Husband's 2010 Income from Employment (YTD Approximate)
                          $70,412.00                              Husband's 2009 Income from Employment
                          $62,886.40                              Husband' 2008 Income from Employment
                          $9,747.33                               Wife's 2010 Income from Employment (YTD Approximate)
                          $18,014.00                              Wife's 2009 Income from Employment
                          $22,244.00                              Wife's 2008 Income from Employment
                          $0.00                                   Husband's 2010 Income from Self-Employment - NONE.
                          $1,165.00                               Husband's 2009 Income from Self-Employment
                          $3,954.00                               Husband's 2008 Income from Self-Employment

Software Copyright (c) 1996-2010 Best Case Solutions - Evanston, IL - www.bestcase.com                                                        Best Case Bankruptcy
            Case 4:10-bk-23768-JMM                               Doc 1 Filed 07/29/10 Entered 07/29/10 10:44:52                              Desc
                                                                Main Document Page 30 of 58
                                                                                                                                                             2


               2. Income other than from employment or operation of business

     None      State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
               during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income
               for each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a
               joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                           AMOUNT                                  SOURCE
                           $200.00                                 2010 Income from Public Assistance
                           $1,600.00                               2009 Income from Public Assistance
                           $1,600.00                               2008 Income from Public Assistance
                           $0.00                                   2010 Income from Child Support - NONE.
                           $1,000.00                               2009 Income from Child Support -
                           $2,200.00                               2008 Income from Child Support -
                           $13.00                                  Wife's 2008 Income from Interest
                           $100.00                                 Husband's 2009 Income from Interest

               3. Payments to creditors

     None      Complete a. or b., as appropriate, and c.

               a. Individual or joint debtor(s) with primarily consumer debts. List all payments on loans, installment purchases of goods or services,
               and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless the aggregate value
               of all property that constitutes or is affected by such transfer is less than $600. Indicate with an (*) any payments that were made to a
               creditor on account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved
               nonprofit budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by
               either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

    NAME AND ADDRESS                                                              DATES OF                                             AMOUNT STILL
       OF CREDITOR                                                                PAYMENTS                   AMOUNT PAID                 OWING

     None      b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
               immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such
               transfer is less than $5,850*. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on
               account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit
               budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments and other
               transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                                                                                  AMOUNT
                                                                                  DATES OF                         PAID OR
                                                                                  PAYMENTS/                      VALUE OF              AMOUNT STILL
    NAME AND ADDRESS OF CREDITOR                                                  TRANSFERS                     TRANSFERS                OWING

     None      c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of
               creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

    NAME AND ADDRESS OF CREDITOR AND                                                                                                   AMOUNT STILL
           RELATIONSHIP TO DEBTOR                                                 DATE OF PAYMENT            AMOUNT PAID                 OWING
    Lorraine Jensen                                                               04/01/2010                    $5,000.00                  $0.00
    14119 Leland Drive
    Sun City Center, FL 33573
       Grandmother




*
    Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

Software Copyright (c) 1996-2010 Best Case Solutions, Inc. - Evanston, IL - www.bestcase.com                                               Best Case Bankruptcy
            Case 4:10-bk-23768-JMM                                Doc 1 Filed 07/29/10 Entered 07/29/10 10:44:52                          Desc
                                                                 Main Document Page 31 of 58
                                                                                                                                                             3

 NAME AND ADDRESS OF CREDITOR AND                                                                                                      AMOUNT STILL
        RELATIONSHIP TO DEBTOR                                                    DATE OF PAYMENT                 AMOUNT PAID             OWING
 Zachary D. Ortiz                                                                 07/2010 - $605.00                  $1,815.00          $29,000.00
 1361 East Colorado Loop                                                          06/2010 - $605.00
 Casa Grande, AZ 85122                                                            05/2010 - $605.00
    Debtor's Brother

               4. Suits and administrative proceedings, executions, garnishments and attachments

    None       a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of
               this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
               whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 CAPTION OF SUIT                                                              NATURE OF         COURT OR AGENCY                          STATUS OR
 AND CASE NUMBER                                                              PROCEEDING        AND LOCATION                             DISPOSITION
 Mark E. Dixon vs. Grogory Clark, et al; Case No.                             Civil             United States District Court for the     Pending
 CV-09-2650-PHX-SRB                                                                             District of Arizona, Phoenix, AZ
 Travis Val Cote vs. Tiffany & Jeffry Gillespie;                              Housing -         Pinal County Justice court at Casa       Judgment in
 Case No. CV2009-1805                                                         Detainer          Grande Division, Casa Grande, AZ         favor of
                                                                                                                                         Plaintiff

    None       b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
               preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

 NAME AND ADDRESS OF PERSON FOR WHOSE                                                                 DESCRIPTION AND VALUE OF
    BENEFIT PROPERTY WAS SEIZED                                               DATE OF SEIZURE                PROPERTY

               5. Repossessions, foreclosures and returns

    None       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
               returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
               or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

                                                                        DATE OF REPOSSESSION,
 NAME AND ADDRESS OF                                                      FORECLOSURE SALE,            DESCRIPTION AND VALUE OF
  CREDITOR OR SELLER                                                     TRANSFER OR RETURN                      PROPERTY
 Arizona Central Credit Union                                         2009                             Repossessed 2005 Chevrolet Tahoe Truck
 3611 N. Black Canyon Hwy                                                                              valued at $13,660.00
 Phoenix, AZ 85015
 Desert Schools Federal Credit Union                                  2009                             Repossessed 2006 Ford F-350 Truck valued at
 P.O. Box 11350                                                                                        $9,765.00
 Phoenix, AZ 85061
 HSBC/Suzuki                                                          2009                             Repossessed 2007 Suzuki Motorcycle
 P.O. Box 15521
 Wilmington, DE 19805
 Honda Financial Services                                             2009                             Repossessed 2003 Honda DTX Motorcycle
 P.O. Box 1027
 Phoenix, AZ 85062-8234
 CitiMortgage                                                         2009                             Foreclosed home located at 1492 E. 12th Place,
 Attn: Bankrutpcy                                                                                      Casa Grande, AZ
 P.o. Box 79022, MS322
 Saint Louis, MO 63179




Software Copyright (c) 1996-2010 Best Case Solutions, Inc. - Evanston, IL - www.bestcase.com                                               Best Case Bankruptcy
            Case 4:10-bk-23768-JMM                                Doc 1 Filed 07/29/10 Entered 07/29/10 10:44:52                          Desc
                                                                 Main Document Page 32 of 58
                                                                                                                                                           4

               6. Assignments and receiverships

    None       a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
               this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
               joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                      DATE OF
 NAME AND ADDRESS OF ASSIGNEE                                         ASSIGNMENT                      TERMS OF ASSIGNMENT OR SETTLEMENT

    None       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
               preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                                 NAME AND LOCATION
 NAME AND ADDRESS                                                     OF COURT                         DATE OF       DESCRIPTION AND VALUE OF
   OF CUSTODIAN                                                  CASE TITLE & NUMBER                   ORDER               PROPERTY

               7. Gifts

    None       List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
               and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
               aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
               either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

   NAME AND ADDRESS OF                                           RELATIONSHIP TO                                      DESCRIPTION AND
 PERSON OR ORGANIZATION                                           DEBTOR, IF ANY                      DATE OF GIFT     VALUE OF GIFT

               8. Losses

    None       List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
               since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                     DESCRIPTION OF CIRCUMSTANCES AND, IF
 DESCRIPTION AND VALUE                                                               LOSS WAS COVERED IN WHOLE OR IN PART
     OF PROPERTY                                                                        BY INSURANCE, GIVE PARTICULARS         DATE OF LOSS

               9. Payments related to debt counseling or bankruptcy

    None       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
               concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately
               preceding the commencement of this case.

                                                                                   DATE OF PAYMENT,                       AMOUNT OF MONEY
 NAME AND ADDRESS                                                               NAME OF PAYOR IF OTHER                OR DESCRIPTION AND VALUE
     OF PAYEE                                                                         THAN DEBTOR                             OF PROPERTY
 Law Offices of Fife & Cesta, PLC                                               06/2010                              $500.00 - Attorney's Fees
 1811 S. Alma School Road                                                                                            $299.00 - Court Filing Fees
 Suite 270
 Mesa, AZ 85210
 Abacus Credit Counseling                                                       07/2010                              $25.00 - Credit Counseling
 3413 Alginet Drive                                                                                                  Certificates
 Encino, CA 91436




Software Copyright (c) 1996-2010 Best Case Solutions, Inc. - Evanston, IL - www.bestcase.com                                             Best Case Bankruptcy
            Case 4:10-bk-23768-JMM                                Doc 1 Filed 07/29/10 Entered 07/29/10 10:44:52                        Desc
                                                                 Main Document Page 33 of 58
                                                                                                                                                                5

               10. Other transfers

    None       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
               transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
               filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF TRANSFEREE,                                                                   DESCRIBE PROPERTY TRANSFERRED
     RELATIONSHIP TO DEBTOR                                                   DATE                        AND VALUE RECEIVED

    None       b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
               trust or similar device of which the debtor is a beneficiary.

 NAME OF TRUST OR OTHER                                                                            AMOUNT OF MONEY OR DESCRIPTION AND
 DEVICE                                                                       DATE(S) OF           VALUE OF PROPERTY OR DEBTOR'S INTEREST
                                                                              TRANSFER(S)          IN PROPERTY

               11. Closed financial accounts

    None       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
               otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
               financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
               cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
               include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed,
               unless the spouses are separated and a joint petition is not filed.)

                                                                                  TYPE OF ACCOUNT, LAST FOUR
                                                                                  DIGITS OF ACCOUNT NUMBER,              AMOUNT AND DATE OF SALE
 NAME AND ADDRESS OF INSTITUTION                                                 AND AMOUNT OF FINAL BALANCE                   OR CLOSING

               12. Safe deposit boxes

    None       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
               immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
               depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                             NAMES AND ADDRESSES
 NAME AND ADDRESS OF BANK                                    OF THOSE WITH ACCESS                   DESCRIPTION                 DATE OF TRANSFER OR
  OR OTHER DEPOSITORY                                        TO BOX OR DEPOSITORY                   OF CONTENTS                  SURRENDER, IF ANY

               13. Setoffs

    None       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
               commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR                                                   DATE OF SETOFF                           AMOUNT OF SETOFF

               14. Property held for another person

    None       List all property owned by another person that the debtor holds or controls.


 NAME AND ADDRESS OF OWNER                                   DESCRIPTION AND VALUE OF PROPERTY              LOCATION OF PROPERTY
 Zachary D. Ortiz                                            2007 GMC Yukon valued at $25,875.00.           Debtor's resdience.
 1361 East Colorado Loop                                     Vehicle has a loan of $29,000.00
 Casa Grande, AZ 85122




Software Copyright (c) 1996-2010 Best Case Solutions, Inc. - Evanston, IL - www.bestcase.com                                                  Best Case Bankruptcy
            Case 4:10-bk-23768-JMM                                Doc 1 Filed 07/29/10 Entered 07/29/10 10:44:52                             Desc
                                                                 Main Document Page 34 of 58
                                                                                                                                                             6

               15. Prior address of debtor

    None       If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
               occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
               address of either spouse.

 ADDRESS                                                                        NAME USED                             DATES OF OCCUPANCY
 1492 East 12th Place                                                           Travis Cote                           2004 to 2009
 Casa Grande, AZ 85122
 1732 E. Cardinal Drive                                                         Travis Cote                           2008
 Casa Grande, AZ 85222

               16. Spouses and Former Spouses

    None       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California,
               Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the
               commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in
               the community property state.

 NAME
 David Noe
 Rachel OConnor

               17. Environmental Information.

               For the purpose of this question, the following definitions apply:

               "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
               or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited
               to, statutes or regulations regulating the cleanup of these substances, wastes, or material.

                      "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly
                      owned or operated by the debtor, including, but not limited to, disposal sites.

                      "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
                      pollutant, or contaminant or similar term under an Environmental Law

    None       a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be
               liable or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if
               known, the Environmental Law:

                                                             NAME AND ADDRESS OF                 DATE OF                      ENVIRONMENTAL
 SITE NAME AND ADDRESS                                       GOVERNMENTAL UNIT                   NOTICE                       LAW

    None       b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
               Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                             NAME AND ADDRESS OF                 DATE OF                      ENVIRONMENTAL
 SITE NAME AND ADDRESS                                       GOVERNMENTAL UNIT                   NOTICE                       LAW

    None       c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
               the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
               docket number.

 NAME AND ADDRESS OF
 GOVERNMENTAL UNIT                                                              DOCKET NUMBER                         STATUS OR DISPOSITION




Software Copyright (c) 1996-2010 Best Case Solutions, Inc. - Evanston, IL - www.bestcase.com                                               Best Case Bankruptcy
            Case 4:10-bk-23768-JMM                                Doc 1 Filed 07/29/10 Entered 07/29/10 10:44:52                          Desc
                                                                 Main Document Page 35 of 58
                                                                                                                                                               7

               18 . Nature, location and name of business

    None       a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a
               partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years
               immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity
               securities within six years immediately preceding the commencement of this case.

               If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six
               years immediately preceding the commencement of this case.

               If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six
               years immediately preceding the commencement of this case.

                                    LAST FOUR DIGITS OF
                                    SOCIAL-SECURITY OR
                                    OTHER INDIVIDUAL
                                    TAXPAYER-I.D. NO.                                                                              BEGINNING AND
 NAME                               (ITIN)/ COMPLETE EIN                  ADDRESS                    NATURE OF BUSINESS            ENDING DATES
 Self-Employment -                  7157                                  120 North Pottebaum        Off duty security jobs        2009
 Travis Cote                                                              Avenue
                                                                          Casa Grande, AZ 85222

    None       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.


 NAME                                                                         ADDRESS


    The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole
proprietor, or self-employed in a trade, profession, or other activity, either full- or part-time.

     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)

               19. Books, records and financial statements

    None       a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
               supervised the keeping of books of account and records of the debtor.

 NAME AND ADDRESS                                                                                           DATES SERVICES RENDERED
 Marla De La Torre, CPA                                                                                     2008, 2009
 1631 E. Guadalupe Road, Suite 102
 Tempe, AZ 85283

    None       b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the
               books of account and records, or prepared a financial statement of the debtor.

 NAME                                                 ADDRESS                                               DATES SERVICES RENDERED

    None       c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records
               of the debtor. If any of the books of account and records are not available, explain.

 NAME                                                                                          ADDRESS

    None       d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was
               issued by the debtor within two years immediately preceding the commencement of this case.

Software Copyright (c) 1996-2010 Best Case Solutions, Inc. - Evanston, IL - www.bestcase.com                                                 Best Case Bankruptcy
            Case 4:10-bk-23768-JMM                                Doc 1 Filed 07/29/10 Entered 07/29/10 10:44:52                            Desc
                                                                 Main Document Page 36 of 58
                                                                                                                                                                8


 NAME AND ADDRESS                                                                                       DATE ISSUED

               20. Inventories

    None       a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
               and the dollar amount and basis of each inventory.

                                                                                                              DOLLAR AMOUNT OF INVENTORY
 DATE OF INVENTORY                                    INVENTORY SUPERVISOR                                    (Specify cost, market or other basis)

    None       b. List the name and address of the person having possession of the records of each of the two inventories reported in a., above.


                                                                                           NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
 DATE OF INVENTORY                                                                         RECORDS

               21 . Current Partners, Officers, Directors and Shareholders

    None       a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.


 NAME AND ADDRESS                                                             NATURE OF INTEREST                        PERCENTAGE OF INTEREST

    None       b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
               controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                              NATURE AND PERCENTAGE
 NAME AND ADDRESS                                                             TITLE                           OF STOCK OWNERSHIP

               22 . Former partners, officers, directors and shareholders

    None       a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
               commencement of this case.

 NAME                                                            ADDRESS                                               DATE OF WITHDRAWAL

    None       b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
               immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                             TITLE                           DATE OF TERMINATION

               23 . Withdrawals from a partnership or distributions by a corporation

    None       If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation
               in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the
               commencement of this case.

 NAME & ADDRESS                                                                                                         AMOUNT OF MONEY
 OF RECIPIENT,                                                                DATE AND PURPOSE                          OR DESCRIPTION AND
 RELATIONSHIP TO DEBTOR                                                       OF WITHDRAWAL                             VALUE OF PROPERTY

               24. Tax Consolidation Group.

    None       If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated
               group for tax purposes of which the debtor has been a member at any time within six years immediately preceding the commencement
               of the case.

 NAME OF PARENT CORPORATION                                                                                TAXPAYER IDENTIFICATION NUMBER (EIN)




Software Copyright (c) 1996-2010 Best Case Solutions, Inc. - Evanston, IL - www.bestcase.com                                                  Best Case Bankruptcy
            Case 4:10-bk-23768-JMM                                Doc 1 Filed 07/29/10 Entered 07/29/10 10:44:52                              Desc
                                                                 Main Document Page 37 of 58
                                                                                                                                                          9

               25. Pension Funds.

    None       If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as
               an employer, has been responsible for contributing at any time within six years immediately preceding the commencement of the case.

 NAME OF PENSION FUND                                                                              TAXPAYER IDENTIFICATION NUMBER (EIN)




Software Copyright (c) 1996-2010 Best Case Solutions, Inc. - Evanston, IL - www.bestcase.com                                            Best Case Bankruptcy
            Case 4:10-bk-23768-JMM                                Doc 1 Filed 07/29/10 Entered 07/29/10 10:44:52                       Desc
                                                                 Main Document Page 38 of 58
                                                                                                                                                                       10

                                 DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct.


 Date July 29, 2010                                                           Signature        /s/ Travis Val Cote
                                                                                               Travis Val Cote
                                                                                               Debtor


 Date July 29, 2010                                                           Signature        /s/ Alexis Lorraine Cote
                                                                                               Alexis Lorraine Cote
                                                                                               Joint Debtor

                     Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




Software Copyright (c) 1996-2010 Best Case Solutions, Inc. - Evanston, IL - www.bestcase.com                                                          Best Case Bankruptcy
            Case 4:10-bk-23768-JMM                                Doc 1 Filed 07/29/10 Entered 07/29/10 10:44:52                                     Desc
                                                                 Main Document Page 39 of 58
B8 (Form 8) (12/08)
                                                                 United States Bankruptcy Court
                                                                                     District of Arizona
             Travis Val Cote
 In re       Alexis Lorraine Cote                                                                                    Case No.
                                                                                             Debtor(s)               Chapter       7


                                  CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION

PART A - Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is secured by
     property of the estate. Attach additional pages if necessary.)

 Property No. 1

 Creditor's Name:                                                                             Describe Property Securing Debt:
 JP Morgan Chase Bank                                                                         Primary Residence:
                                                                                              120 North Pottebaum Avenue
                                                                                              Casa Grande, AZ 85122
                                                                                              Jointly owned with Lorraine Schall

 Property will be (check one):
        Surrendered                                                            Retained

 If retaining the property, I intend to (check at least one):
         Redeem the property
         Reaffirm the debt
         Other. Explain                              (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
        Claimed as Exempt                                                                        Not claimed as exempt




Software Copyright (c) 1996-2010 Best Case Solutions - Evanston, IL - bestcase.com                                                     Best Case Bankruptcy



            Case 4:10-bk-23768-JMM                                Doc 1 Filed 07/29/10 Entered 07/29/10 10:44:52                       Desc
                                                                 Main Document Page 40 of 58
B8 (Form 8) (12/08)                                                                                                                            Page 2
 Property No. 2

 Creditor's Name:                                                                         Describe Property Securing Debt:
 Zachary D. Ortiz                                                                         2007 GMC Yukon.

 Property will be (check one):
        Surrendered                                                            Retained

 If retaining the property, I intend to (check at least one):
         Redeem the property
         Reaffirm the debt
         Other. Explain                              (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
        Claimed as Exempt                                                                   Not claimed as exempt

PART B - Personal property subject to unexpired leases. (All three columns of Part B must be completed for each unexpired lease.
Attach additional pages if necessary.)

 Property No. 1

 Lessor's Name:                                                  Describe Leased Property:                   Lease will be Assumed pursuant to 11
 Acadia Landing                                                  HOA Contract                                U.S.C. § 365(p)(2):
                                                                 TO BE REJECTED.                                YES              NO


 Property No. 2

 Lessor's Name:                                                  Describe Leased Property:                   Lease will be Assumed pursuant to 11
 LA Fitness                                                      GYM Contract                                U.S.C. § 365(p)(2):
                                                                 Monthly Payments: $60.00                       YES              NO
                                                                 TO BE ASSUMED.



 Property No. 3

 Lessor's Name:                                                  Describe Leased Property:                   Lease will be Assumed pursuant to 11
 Verizon                                                         Cell Phone Contract                         U.S.C. § 365(p)(2):
                                                                 Monthly Payments: $165.74                      YES              NO
                                                                 TO BE ASSUMED.



 Property No. 4

 Lessor's Name:                                                  Describe Leased Property:                   Lease will be Assumed pursuant to 11
 Zachary D. Ortiz                                                Agreement for the use of                    U.S.C. § 365(p)(2):
                                                                 2007 GMC Yukon.                                YES              NO
                                                                 Monthly Payments: $800.00
                                                                 TO BE ASSUMED.




Software Copyright (c) 1996-2010 Best Case Solutions - Evanston, IL - bestcase.com                                                      Best Case Bankruptcy



            Case 4:10-bk-23768-JMM                                Doc 1 Filed 07/29/10 Entered 07/29/10 10:44:52                       Desc
                                                                 Main Document Page 41 of 58
B8 (Form 8) (12/08)                                                                                                         Page 3




I declare under penalty of perjury that the above indicates my intention as to any property of my estate securing a debt
and/or personal property subject to an unexpired lease.


 Date July 29, 2010                                                           Signature   /s/ Travis Val Cote
                                                                                          Travis Val Cote
                                                                                          Debtor


 Date July 29, 2010                                                           Signature   /s/ Alexis Lorraine Cote
                                                                                          Alexis Lorraine Cote
                                                                                          Joint Debtor




Software Copyright (c) 1996-2010 Best Case Solutions - Evanston, IL - bestcase.com                                   Best Case Bankruptcy



            Case 4:10-bk-23768-JMM                                Doc 1 Filed 07/29/10 Entered 07/29/10 10:44:52     Desc
                                                                 Main Document Page 42 of 58
                                                                 United States Bankruptcy Court
                                                                                     District of Arizona
             Travis Val Cote
 In re       Alexis Lorraine Cote                                                                                     Case No.
                                                                                             Debtor(s)                Chapter    7


                           DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
              For legal services, I have agreed to accept                                                         $                  500.00
              Prior to the filing of this statement I have received                                               $                  500.00
              Balance Due                                                                                         $                    0.00

2.     $    299.00         of the filing fee has been paid.

3.     The source of the compensation paid to me was:

                   Debtor                  Other (specify):

4.     The source of compensation to be paid to me is:

                   Debtor                  Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d. [Other provisions as needed]
               NONE.

7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               NONE.
                                                                                      CERTIFICATION

       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

 Dated:       July 29, 2010                                                                 /s/ Thomas J. Cesta
                                                                                            Thomas J. Cesta 021453
                                                                                            Law Offices of Fife & Cesta, PLC
                                                                                            1811 S. Alma School Road
                                                                                            Suite 270
                                                                                            Mesa, AZ 85210
                                                                                            (480) 850-6541 Fax: (480) 619-6238
                                                                                            tcesta@fifecestalaw.com




Software Copyright (c) 1996-2010 Best Case Solutions - Evanston, IL - bestcase.com                                                            Best Case Bankruptcy
            Case 4:10-bk-23768-JMM                                Doc 1 Filed 07/29/10 Entered 07/29/10 10:44:52                              Desc
                                                                 Main Document Page 43 of 58
B 201A (Form 201A) (12/09)

WARNING: Effective December 1, 2009, the 15-day deadline to file schedules and certain other documents under Bankruptcy
             Rule 1007(c) is shortened to 14 days. For further information, see note at bottom of page 2
                                                       UNITED STATES BANKRUPTCY COURT
                                                             DISTRICT OF ARIZONA
                                           NOTICE TO CONSUMER DEBTOR(S) UNDER § 342(b)
                                                    OF THE BANKRUPTCY CODE
          In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1) Describes
briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types
of bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney
General may examine all information you supply in connection with a bankruptcy case.

         You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the advice of an
attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees cannot give you legal advice.

         Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to ensure
that you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the court of any
changes in your address. If you are filing a joint case (a single bankruptcy case for two individuals married to each other), and each
spouse lists the same mailing address on the bankruptcy petition, you and your spouse will generally receive a single copy of each
notice mailed from the bankruptcy court in a jointly-addressed envelope, unless you file a statement with the court requesting that
each spouse receive a separate copy of all notices.

1. Services Available from Credit Counseling Agencies
          With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy
relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and
provides assistance in performing a budget analysis. The briefing must be given within 180 days before the bankruptcy filing. The
briefing may be provided individually or in a group (including briefings conducted by telephone or on the Internet) and must be
provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy administrator. The
clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling agencies. Each debtor in a
joint case must complete the briefing.

          In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

            Chapter 7: Liquidation ($245 filing fee, $39 administrative fee, $15 trustee surcharge: Total Fee $299)
         Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors whose
debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted to
proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in some cases,
the United States trustee (or bankruptcy administrator), the trustee, or creditors have the right to file a motion requesting that the court
dismiss your case under § 707(b) of the Code. It is up to the court to decide whether the case should be dismissed.
         Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to
take possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
         The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it does, the
purpose for which you filed the bankruptcy petition will be defeated.
         Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still be
responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property settlement
obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or aircraft while intoxicated
from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty, or theft, or from a willful
and malicious injury, the bankruptcy court may determine that the debt is not discharged.

            Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
            $39 administrative fee: Total fee $274)


Software Copyright (c) 1996-2010 Best Case Solutions - Evanston, IL - bestcase.com                                       Best Case Bankruptcy
            Case 4:10-bk-23768-JMM                                Doc 1 Filed 07/29/10 Entered 07/29/10 10:44:52            Desc
                                                                 Main Document Page 44 of 58
Form B 201A, Notice to Consumer Debtor(s)                                                                                        Page 2

         Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments
over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the
Bankruptcy Code.
         Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them,
using your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon
your income and other factors. The court must approve your plan before it can take effect.
         After completing the payments under your plan, your debts are generally discharged except for domestic support obligations;
most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.

            Chapter 11: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

            Chapter 12: Family Farmer or Fisherman ($200 filing fee, $39 administrative fee: Total fee $239)
         Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily from a
family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
          A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the United
States Trustee, the Office of the United States Attorney, and other components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this information is not
filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local rules of the court. The
documents and the deadlines for filing them are listed on Form B200, which is posted at
http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.

Many filing deadlines change on December 1, 2009. Of special note, 12 rules that set 15 days to act are amended to require
action within 14 days, including Rule 1007(c), filing the initial case papers; Rule 3015(b), filing a chapter 13 plan; Rule
8009(a), filing appellate briefs; and Rules 1019, 1020, 2015, 2015.1, 2016, 4001, 4002, 6004, and 6007.




Software Copyright (c) 1996-2010 Best Case Solutions - Evanston, IL - bestcase.com                                     Best Case Bankruptcy
            Case 4:10-bk-23768-JMM                                Doc 1 Filed 07/29/10 Entered 07/29/10 10:44:52          Desc
                                                                 Main Document Page 45 of 58
                                                                 United States Bankruptcy Court
                                                                                 District of Arizona
             Travis Val Cote
 In re       Alexis Lorraine Cote                                                                                  Case No.
                                                                                         Debtor(s)                 Chapter    7




                                                                             DECLARATION


            We, Travis Val Cote and Alexis Lorraine Cote , do hereby certify, under penalty of perjury, that the Master Mailing List,

consisting of         3    sheet(s), is complete, correct and consistent with the debtor(s)' schedules.




 Date: July 29, 2010                                                          /s/ Travis Val Cote
                                                                              Travis Val Cote
                                                                              Signature of Debtor

 Date: July 29, 2010                                                          /s/ Alexis Lorraine Cote
                                                                              Alexis Lorraine Cote
                                                                              Signature of Debtor

 Date: July 29, 2010                                                          /s/ Thomas J. Cesta
                                                                              Signature of Attorney
                                                                              Thomas J. Cesta 021453
                                                                              Law Offices of Fife & Cesta, PLC
                                                                              1811 S. Alma School Road
                                                                              Suite 270
                                                                              Mesa, AZ 85210
                                                                              (480) 850-6541 Fax: (480) 619-6238




                                                                                                                                           MML-5

Software Copyright (c) 1996-2010 Best Case Solutions - Evanston, IL - bestcase.com                                                Best Case Bankruptcy




            Case 4:10-bk-23768-JMM                                Doc 1 Filed 07/29/10 Entered 07/29/10 10:44:52                  Desc
                                                                 Main Document Page 46 of 58
Cote, Travis and Alexis -


    }
    b
    k
    1
    {
    C
    r
    e
    d
    i
    t
    o
    A
    s
    M
    a
    x




ACADIA LANDING
P.O. BOX 4171
MESA AZ 85211


ANDREW GOODE
2328 W. PEGGY DRIVE
QUEEN CREEK AZ 85242


ARIZONA CENTRAL CREDIT UNION
3611 N. BLACK CANYON HWY
PHOENIX AZ 85015


CAPITAL ONE
ATTN: C/O TSYS DEBT MANAGEMENT
P.O. BOX 5155
NORCROSS GA 30091


CAPITAL ONE BANK
P.O. BOX 71083
CHARLOTTE NC 28272-1085


CAROL LEE DIXON
P.O. BOX 11152
CASA GRANDE AZ 85130


CASA GRANDE REGIONAL MEDICAL CTR.
P.O. BOX 11890
CASA GRANDE AZ 85130-1890


CITIMORTGAGE
ATTN: BANKRUTPCY
P.O. BOX 79022, MS322
SAINT LOUIS MO 63179


DESERT SCHOOLS FEDERAL CREDIT UNION
P.O. BOX 11350
PHOENIX AZ 85061


DISCOVER FINANCIAL
ATTN: BANKRUPTCY
P.O. BOX 3025
NEW ALBANY OH 43054




        Case 4:10-bk-23768-JMM    Doc 1 Filed 07/29/10 Entered 07/29/10 10:44:52   Desc
                                 Main Document Page 47 of 58
Cote, Travis and Alexis -



ELI PILE
DEPUTY SHERIFF
971 NORTH JASON LOPEZ CIRCLE
FLORENCE AZ 85132


GECCCC
345 SAINT PETER STREET
SAINT PAUL MN 55102


GEMB FINANCING
P.O. BOX 981439
EL PASO TX 79998


HONDA FINANCIAL SERVICES
P.O. BOX 1027
PHOENIX AZ 85062-8234


HSBC/SUZUKI
P.O. BOX 15521
WILMINGTON DE 19805


JP MORGAN CHASE BANK
1400 E. NEWPORT CENTER DRIVE
DEERFIELD BEACH FL 33442


KOHL'S
P.O. BOX 2983
MILWAUKEE WI 53201


LORRAINE SCHALL
8719 W. CONCORDIA DRIVE
ARIZONA CITY AZ 85123


MARK E. DIXON
P.O. BOX 12695
CASA GRANDE AZ 85130


PHILIP LEBLANC
P.O. BOX 2172
ARIZONA CITY AZ 85223


PINAL COUNTY TREASURER
P.OL BOX 729
FLORENCE AZ 85232


      Case 4:10-bk-23768-JMM    Doc 1 Filed 07/29/10 Entered 07/29/10 10:44:52   Desc
                               Main Document Page 48 of 58
Cote, Travis and Alexis -



PINNACLE CREDIT SERVICES
P.O. BOX 109
SALEM NH 03079-0109


SIERRA ORTHOPEDICS, PC
1780 E. FLORENCE BLVD.
SUITE 106
CASA GRANDE AZ 85122


STEPHEN CLARK
DEPUTY SHERIFF
971 NORTH JASON LOPEZ CIRCLE
FLORENCE AZ 85132


STEPHENS AND MICHAELS ASSOCIATES
P.O. BOX 109
SALEM NH 03079-0109


USAA FEDERAL SAVINGS BANK
9800 FREDERICKBURG ROAD
SAN ANTONIO TX 78288


ZACHARY D. ORTIZ
1361 EAST COLORADO LOOP
CASA GRANDE AZ 85122




      Case 4:10-bk-23768-JMM    Doc 1 Filed 07/29/10 Entered 07/29/10 10:44:52   Desc
                               Main Document Page 49 of 58
  B22A (Official Form 22A) (Chapter 7) (04/10)

        Travis Val Cote
 In re  Alexis Lorraine Cote                                                             According to the information required to be entered on this statement
                            Debtor(s)                                                      (check one box as directed in Part I, III, or VI of this statement):
 Case Number:                                                                                    The presumption arises.
                       (If known)
                                                                                                 The presumption does not arise.
                                                                                                 The presumption is temporarily inapplicable.


                                  CHAPTER 7 STATEMENT OF CURRENT MONTHLY INCOME
                                             AND MEANS-TEST CALCULATION
In addition to Schedules I and J, this statement must be completed by every individual chapter 7 debtor, whether or not filing jointly. Unless the
exclusion in Line 1C applies, joint debtors may complete a single statement. If the exclusion in Line 1C applies, each joint filer must complete a
separate statement.

                                                 Part I. MILITARY AND NON-CONSUMER DEBTORS
             Disabled Veterans. If you are a disabled veteran described in the Declaration in this Part IA, (1) check the box at the beginning of the
             Declaration, (2) check the box for "The presumption does not arise" at the top of this statement, and (3) complete the verification in Part
             VIII. Do not complete any of the remaining parts of this statement.
    1A
                Declaration of Disabled Veteran. By checking this box, I declare under penalty of perjury that I am a disabled veteran (as defined in
             38 U.S.C. § 3741(1)) whose indebtedness occurred primarily during a period in which I was on active duty (as defined in 10 U.S.C. §
             101(d)(1)) or while I was performing a homeland defense activity (as defined in 32 U.S.C. §901(1)).
             Non-consumer Debtors. If your debts are not primarily consumer debts, check the box below and complete the verification in Part VIII.
    1B       Do not complete any of the remaining parts of this statement.
                 Declaration of non-consumer debts. By checking this box, I declare that my debts are not primarily consumer debts.
             Reservists and National Guard Members; active duty or homeland defense activity. Members of a reserve component of the Armed
             Forces and members of the National Guard who were called to active duty (as defined in 10 U.S.C. § 101(d)(1)) after September 11,
             2001, for a period of at least 90 days, or who have performed homeland defense activity (as defined in 32 U.S.C. § 901(1)) for a period of
             at least 90 days, are excluded from all forms of means testing during the time of active duty or homeland defense activity and for 540
             days thereafter (the "exclusion period"). If you qualify for this temporary exclusion, (1) check the appropriate boxes and complete any
             required information in the Declaration of Reservists and National Guard Members below, (2) check the box for "The presumption is
             temporarily inapplicable" at the top of this statement, and (3) complete the verification in Part VIII. During your exclusion period you
             are not required to complete the balance of this form, but you must complete the form no later than 14 days after the date on
             which your exclusion period ends, unless the time for filing a motion raising the means test presumption expires in your case
             before your exclusion period ends.
                Declaration of Reservists and National Guard Members. By checking this box and making the appropriate entries below, I declare
    1C       that I am eligible for a temporary exclusion from means testing because, as a member of a reserve component of the Armed Forces or the
             National Guard

                                       a.       I was called to active duty after September 11, 2001, for a period of at least 90 days and
                                                       I remain on active duty /or/
                                                       I was released from active duty on        , which is less than 540 days before this bankruptcy case was
                                       filed;

                                                    OR

                                       b.      I am performing homeland defense activity for a period of at least 90 days /or/
                                              I performed homeland defense activity for a period of at least 90 days, terminating on          , which is less than
                                            540 days before this bankruptcy case was filed.




Software Copyright (c) 1996-2010 Best Case Solutions - Evanston, IL - www.bestcase.com                                                           Best Case Bankruptcy
            Case 4:10-bk-23768-JMM                               Doc 1 Filed 07/29/10 Entered 07/29/10 10:44:52                                   Desc
                                                                Main Document Page 50 of 58
  B22A (Official Form 22A) (Chapter 7) (04/10)                                                                                                        2

                         Part II. CALCULATION OF MONTHLY INCOME FOR § 707(b)(7) EXCLUSION
             Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
             a.   Unmarried. Complete only Column A ("Debtor's Income") for Lines 3-11.
             b.   Married, not filing jointly, with declaration of separate households. By checking this box, debtor declares under penalty of
                perjury: "My spouse and I are legally separated under applicable non-bankruptcy law or my spouse and I are living apart other than
     2          for the purpose of evading the requirements of § 707(b)(2)(A) of the Bankruptcy Code." Complete only column A ("Debtor's
                Income") for Lines 3-11.
             c.   Married, not filing jointly, without the declaration of separate households set out in Line 2.b above. Complete both Column A
                ("Debtor's Income") and Column B ("Spouse's Income") for Lines 3-11.
             d.      Married, filing jointly. Complete both Column A ("Debtor's Income") and Column B ("Spouse's Income") for Lines 3-11.
             All figures must reflect average monthly income received from all sources, derived during the six Column A       Column B
             calendar months prior to filing the bankruptcy case, ending on the last day of the month before
             the filing. If the amount of monthly income varied during the six months, you must divide the      Debtor's       Spouse's
             six-month total by six, and enter the result on the appropriate line.                              Income         Income

     3       Gross wages, salary, tips, bonuses, overtime, commissions.                                        $      5,107.79 $           1,499.00
             Income from the operation of a business, profession or farm. Subtract Line b from Line a and
             enter the difference in the appropriate column(s) of Line 4. If you operate more than one
             business, profession or farm, enter aggregate numbers and provide details on an attachment. Do
             not enter a number less than zero. Do not include any part of the business expenses entered
     4       on Line b as a deduction in Part V.
                                                                         Debtor                 Spouse
              a.     Gross receipts                               $               0.00 $                 0.00
              b.     Ordinary and necessary business expenses $                   0.00 $                 0.00
              c.     Business income                              Subtract Line b from Line a                 $            0.00 $                0.00
             Rents and other real property income. Subtract Line b from Line a and enter the difference in
             the appropriate column(s) of Line 5. Do not enter a number less than zero. Do not include any
             part of the operating expenses entered on Line b as a deduction in Part V.
     5                                                                 Debtor                Spouse
              a.    Gross receipts                              $                0.00 $                0.00
              b.    Ordinary and necessary operating            $                0.00 $                0.00
                    expenses
              c.    Rent and other real property income         Subtract Line b from Line a                 $              0.00 $                0.00
     6       Interest, dividends, and royalties.                                                               $           0.00 $                0.00
     7       Pension and retirement income.                                                                    $           0.00 $                0.00
             Any amounts paid by another person or entity, on a regular basis, for the household
     8       expenses of the debtor or the debtor's dependents, including child support paid for that
             purpose. Do not include alimony or separate maintenance payments or amounts paid by your
             spouse if Column B is completed.                                                               $              0.00 $                0.00
             Unemployment compensation. Enter the amount in the appropriate column(s) of Line 9.
             However, if you contend that unemployment compensation received by you or your spouse was a
             benefit under the Social Security Act, do not list the amount of such compensation in Column A
     9       or B, but instead state the amount in the space below:
              Unemployment compensation claimed to
              be a benefit under the Social Security Act Debtor $                        0.00 Spouse $   0.00 $            0.00 $                0.00
             Income from all other sources. Specify source and amount. If necessary, list additional sources
             on a separate page. Do not include alimony or separate maintenance payments paid by your
             spouse if Column B is completed, but include all other payments of alimony or separate
             maintenance. Do not include any benefits received under the Social Security Act or payments
             received as a victim of a war crime, crime against humanity, or as a victim of international or
    10       domestic terrorism.
                                                                       Debtor                    Spouse
              a.                                                 $                       $
              b.                                                 $                       $
             Total and enter on Line 10                                                                        $           0.00 $                0.00
    11       Subtotal of Current Monthly Income for § 707(b)(7). Add Lines 3 thru 10 in Column A, and,
             if Column B is completed, add Lines 3 through 10 in Column B. Enter the total(s).                 $      5,107.79 $           1,499.00


Software Copyright (c) 1996-2010 Best Case Solutions - Evanston, IL - www.bestcase.com                                              Best Case Bankruptcy
            Case 4:10-bk-23768-JMM                               Doc 1 Filed 07/29/10 Entered 07/29/10 10:44:52                     Desc
                                                                Main Document Page 51 of 58
  B22A (Official Form 22A) (Chapter 7) (04/10)                                                                                                           3

             Total Current Monthly Income for § 707(b)(7). If Column B has been completed, add Line 11,
    12       Column A to Line 11, Column B, and enter the total. If Column B has not been completed, enter
             the amount from Line 11, Column A.                                                            $                                 6,606.79

                                                  Part III. APPLICATION OF § 707(b)(7) EXCLUSION
    13       Annualized Current Monthly Income for § 707(b)(7). Multiply the amount from Line 12 by the number 12 and
             enter the result.                                                                                                     $        79,281.48
             Applicable median family income. Enter the median family income for the applicable state and household size.
    14       (This information is available by family size at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)
              a. Enter debtor's state of residence:                       AZ             b. Enter debtor's household size:   5     $        76,705.00
             Application of Section 707(b)(7). Check the applicable box and proceed as directed.
               The amount on Line 13 is less than or equal to the amount on Line 14. Check the box for "The presumption does not arise" at the
    15
               top of page 1 of this statement, and complete Part VIII; do not complete Parts IV, V, VI or VII.
                 The amount on Line 13 is more than the amount on Line 14. Complete the remaining parts of this statement.
                                       Complete Parts IV, V, VI, and VII of this statement only if required. (See Line 15.)

                          Part IV. CALCULATION OF CURRENT MONTHLY INCOME FOR § 707(b)(2)
    16       Enter the amount from Line 12.                                                                                        $          6,606.79
             Marital adjustment. If you checked the box at Line 2.c, enter on Line 17 the total of any income listed in Line 11,
             Column B that was NOT paid on a regular basis for the household expenses of the debtor or the debtor's
             dependents. Specify in the lines below the basis for excluding the Column B income (such as payment of the
             spouse's tax liability or the spouse's support of persons other than the debtor or the debtor's dependents) and the
             amount of income devoted to each purpose. If necessary, list additional adjustments on a separate page. If you did
    17       not check box at Line 2.c, enter zero.
              a.                                                                                       $
              b.                                                                                       $
              c.                                                                                       $
              d.                                                                                       $
             Total and enter on Line 17                                                                                            $                0.00
    18       Current monthly income for § 707(b)(2). Subtract Line 17 from Line 16 and enter the result.                           $          6,606.79

                                          Part V. CALCULATION OF DEDUCTIONS FROM INCOME
                                    Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)
             National Standards: food, clothing and other items. Enter in Line 19A the "Total" amount from IRS National
   19A       Standards for Food, Clothing and Other Items for the applicable household size. (This information is available at
             www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)                                                     $             1,633.00
             National Standards: health care. Enter in Line a1 below the amount from IRS National Standards for
             Out-of-Pocket Health Care for persons under 65 years of age, and in Line a2 the IRS National Standards for
             Out-of-Pocket Health Care for persons 65 years of age or older. (This information is available at
             www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) Enter in Line b1 the number of members of your
             household who are under 65 years of age, and enter in Line b2 the number of members of your household who are
             65 years of age or older. (The total number of household members must be the same as the number stated in Line
   19B       14b.) Multiply Line a1 by Line b1 to obtain a total amount for household members under 65, and enter the result in
             Line c1. Multiply Line a2 by Line b2 to obtain a total amount for household members 65 and older, and enter the
             result in Line c2. Add Lines c1 and c2 to obtain a total health care amount, and enter the result in Line 19B.
                   Household members under 65 years of age                 Household members 65 years of age or older
              a1.     Allowance per member                         60 a2.        Allowance per member                      144
              b1.     Number of members                             5 b2.        Number of members                           0
              c1.     Subtotal                               300.00 c2.          Subtotal                                 0.00  $               300.00
             Local Standards: housing and utilities; non-mortgage expenses. Enter the amount of the IRS Housing and
   20A       Utilities Standards; non-mortgage expenses for the applicable county and household size. (This information is
             available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court).                                           $            535.00




Software Copyright (c) 1996-2010 Best Case Solutions - Evanston, IL - www.bestcase.com                                                 Best Case Bankruptcy
            Case 4:10-bk-23768-JMM                               Doc 1 Filed 07/29/10 Entered 07/29/10 10:44:52                        Desc
                                                                Main Document Page 52 of 58
  B22A (Official Form 22A) (Chapter 7) (04/10)                                                                                                            4

             Local Standards: housing and utilities; mortgage/rent expense. Enter, in Line a below, the amount of the IRS
             Housing and Utilities Standards; mortgage/rent expense for your county and household size (this information is
             available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter on Line b the total of the Average
             Monthly Payments for any debts secured by your home, as stated in Line 42; subtract Line b from Line a and enter
   20B       the result in Line 20B. Do not enter an amount less than zero.
              a.    IRS Housing and Utilities Standards; mortgage/rental expense $                                        932.00
              b.    Average Monthly Payment for any debts secured by your
                    home, if any, as stated in Line 42                              $                                   1,227.16
              c.    Net mortgage/rental expense                                     Subtract Line b from Line a.                  $                  0.00
             Local Standards: housing and utilities; adjustment. If you contend that the process set out in Lines 20A and
             20B does not accurately compute the allowance to which you are entitled under the IRS Housing and Utilities
    21       Standards, enter any additional amount to which you contend you are entitled, and state the basis for your
             contention in the space below:
                                                                                                                                   $                 0.00
             Local Standards: transportation; vehicle operation/public transportation expense.
             You are entitled to an expense allowance in this category regardless of whether you pay the expenses of operating
             a vehicle and regardless of whether you use public transportation.
             Check the number of vehicles for which you pay the operating expenses or for which the operating expenses are
             included as a contribution to your household expenses in Line 8.
   22A
                   0      1        2 or more.
             If you checked 0, enter on Line 22A the "Public Transportation" amount from IRS Local Standards:
             Transportation. If you checked 1 or 2 or more, enter on Line 22A the "Operating Costs" amount from IRS Local
             Standards: Transportation for the applicable number of vehicles in the applicable Metropolitan Statistical Area or
             Census Region. (These amounts are available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)         $             524.00
             Local Standards: transportation; additional public transportation expense. If you pay the operating expenses
             for a vehicle and also use public transportation, and you contend that you are entitled to an additional deduction for
   22B       you public transportation expenses, enter on Line 22B the "Public Transportation" amount from IRS Local
             Standards: Transportation. (This amount is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy
             court.)                                                                                                                $                0.00
             Local Standards: transportation ownership/lease expense; Vehicle 1. Check the number of vehicles for which
             you claim an ownership/lease expense. (You may not claim an ownership/lease expense for more than two
             vehicles.)
                   1      2 or more.
             Enter, in Line a below, the "Ownership Costs" for "One Car" from the IRS Local Standards: Transportation
    23       (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the
             Average Monthly Payments for any debts secured by Vehicle 1, as stated in Line 42; subtract Line b from Line a
             and enter the result in Line 23. Do not enter an amount less than zero.
              a.       IRS Transportation Standards, Ownership Costs                     $                                  0.00
                       Average Monthly Payment for any debts secured by Vehicle
              b.       1, as stated in Line 42                                           $                                  0.00
              c.       Net ownership/lease expense for Vehicle 1                         Subtract Line b from Line a.              $                 0.00
             Local Standards: transportation ownership/lease expense; Vehicle 2. Complete this Line only if you checked
             the "2 or more" Box in Line 23.
             Enter, in Line a below, the "Ownership Costs" for "One Car" from the IRS Local Standards: Transportation
             (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the
    24       Average Monthly Payments for any debts secured by Vehicle 2, as stated in Line 42; subtract Line b from Line a
             and enter the result in Line 24. Do not enter an amount less than zero.
              a.       IRS Transportation Standards, Ownership Costs                     $                                  0.00
                       Average Monthly Payment for any debts secured by Vehicle
              b.       2, as stated in Line 42                                           $                                  0.00
              c.       Net ownership/lease expense for Vehicle 2                         Subtract Line b from Line a.              $                 0.00
             Other Necessary Expenses: taxes. Enter the total average monthly expense that you actually incur for all federal,
    25       state and local taxes, other than real estate and sales taxes, such as income taxes, self employment taxes, social
             security taxes, and Medicare taxes. Do not include real estate or sales taxes.                                        $           1,175.46
             Other Necessary Expenses: involuntary deductions for employment. Enter the total average monthly payroll
    26       deductions that are required for your employment, such as retirement contributions, union dues, and uniform costs.
             Do not include discretionary amounts, such as voluntary 401(k) contributions.                                      $                453.18

Software Copyright (c) 1996-2010 Best Case Solutions - Evanston, IL - www.bestcase.com                                                  Best Case Bankruptcy
            Case 4:10-bk-23768-JMM                               Doc 1 Filed 07/29/10 Entered 07/29/10 10:44:52                         Desc
                                                                Main Document Page 53 of 58
    B22A (Official Form 22A) (Chapter 7) (04/10)                                                                                                                          5

               Other Necessary Expenses: life insurance. Enter total average monthly premiums that you actually pay for term
      27       life insurance for yourself. Do not include premiums for insurance on your dependents, for whole life or for
               any other form of insurance.                                                                                  $                                       0.00
               Other Necessary Expenses: court-ordered payments. Enter the total monthly amount that you are required to
      28       pay pursuant to the order of a court or administrative agency, such as spousal or child support payments. Do not
               include payments on past due obligations included in Line 44.                                                                        $                0.00
               Other Necessary Expenses: education for employment or for a physically or mentally challenged child.
      29       Enter the total average monthly amount that you actually expend for education that is a condition of employment
               and for education that is required for a physically or mentally challenged dependent child for whom no public
               education providing similar services is available.                                                                                   $                0.00

      30       Other Necessary Expenses: childcare. Enter the total average monthly amount that you actually expend on
               childcare - such as baby-sitting, day care, nursery and preschool. Do not include other educational payments.                        $            425.00
               Other Necessary Expenses: health care. Enter the total average monthly amount that you actually expend on
      31       health care that is required for the health and welfare of yourself or your dependents, that is not reimbursed by
               insurance or paid by a health savings account, and that is in excess of the amount entered in Line 19B. Do not
               include payments for health insurance or health savings accounts listed in Line 34.                                                  $                0.00
               Other Necessary Expenses: telecommunication services. Enter the total average monthly amount that you
      32       actually pay for telecommunication services other than your basic home telephone and cell phone service - such as
               pagers, call waiting, caller id, special long distance, or internet service - to the extent necessary for your health and
               welfare or that of your dependents. Do not include any amount previously deducted.                                        $                           0.00
      33       Total Expenses Allowed under IRS Standards. Enter the total of Lines 19 through 32.                                                  $          5,045.64

                                                 Subpart B: Additional Living Expense Deductions
                                        Note: Do not include any expenses that you have listed in Lines 19-32
               Health Insurance, Disability Insurance, and Health Savings Account Expenses. List the monthly expenses in
               the categories set out in lines a-c below that are reasonably necessary for yourself, your spouse, or your
               dependents.
      34
                a.          Health Insurance                                              $                                   212.14
                b.          Disability Insurance                                          $                                       0.00
                c.          Health Savings Account                                        $                                       0.00              $            212.14
               Total and enter on Line 34.
               If you do not actually expend this total amount, state your actual total average monthly expenditures in the
               space below:
               $
               Continued contributions to the care of household or family members. Enter the total average actual monthly
      35       expenses that you will continue to pay for the reasonable and necessary care and support of an elderly, chronically
               ill, or disabled member of your household or member of your immediate family who is unable to pay for such
               expenses.                                                                                                                            $                0.00
               Protection against family violence. Enter the total average reasonably necessary monthly expenses that you
      36       actually incurred to maintain the safety of your family under the Family Violence Prevention and Services Act or
               other applicable federal law. The nature of these expenses is required to be kept confidential by the court.                         $              30.00
               Home energy costs. Enter the total average monthly amount, in excess of the allowance specified by IRS Local
      37       Standards for Housing and Utilities, that you actually expend for home energy costs. You must provide your
               case trustee with documentation of your actual expenses, and you must demonstrate that the additional
               amount claimed is reasonable and necessary.                                                                                          $                0.00
               Education expenses for dependent children less than 18. Enter the total average monthly expenses that you
               actually incur, not to exceed $147.92* per child, for attendance at a private or public elementary or secondary
      38       school by your dependent children less than 18 years of age. You must provide your case trustee with
               documentation of your actual expenses, and you must explain why the amount claimed is reasonable and
               necessary and not already accounted for in the IRS Standards.                                                                        $                0.00




*
    Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.


Software Copyright (c) 1996-2010 Best Case Solutions - Evanston, IL - www.bestcase.com                                                                  Best Case Bankruptcy
              Case 4:10-bk-23768-JMM                               Doc 1 Filed 07/29/10 Entered 07/29/10 10:44:52                                       Desc
                                                                  Main Document Page 54 of 58
  B22A (Official Form 22A) (Chapter 7) (04/10)                                                                                                           6

             Additional food and clothing expense. Enter the total average monthly amount by which your food and clothing
             expenses exceed the combined allowances for food and clothing (apparel and services) in the IRS National
    39       Standards, not to exceed 5% of those combined allowances. (This information is available at www.usdoj.gov/ust/
             or from the clerk of the bankruptcy court.) You must demonstrate that the additional amount claimed is
             reasonable and necessary.                                                                                             $                0.00

    40       Continued charitable contributions. Enter the amount that you will continue to contribute in the form of cash or
             financial instruments to a charitable organization as defined in 26 U.S.C. § 170(c)(1)-(2).                      $                   84.00
    41       Total Additional Expense Deductions under § 707(b). Enter the total of Lines 34 through 40                            $            326.14

                                                             Subpart C: Deductions for Debt Payment
             Future payments on secured claims. For each of your debts that is secured by an interest in property that you
             own, list the name of the creditor, identify the property securing the debt, and state the Average Monthly Payment,
    42       and check whether the payment includes taxes or insurance. The Average Monthly Payment is the total of all
             amounts scheduled as contractually due to each Secured Creditor in the 60 months following the filing of the
             bankruptcy case, divided by 60. If necessary, list additional entries on a separate page. Enter the total of the
             Average Monthly Payments on Line 42.
                   Name of Creditor                    Property Securing the Debt              Average Monthly Does payment
                                                                                                         Payment include taxes
                                                                                                                  or insurance?
                                                       Primary Residence:
                                                       120 North Pottebaum Avenue
                                                       Casa Grande, AZ 85122
                                                       Jointly owned with Lorraine
               a. JP Morgan Chase Bank                 Schall                                $          1,227.16     yes no
                                                                                             Total: Add Lines                      $          1,227.16
             Other payments on secured claims. If any of debts listed in Line 42 are secured by your primary residence, a
             motor vehicle, or other property necessary for your support or the support of your dependents, you may include in
    43       your deduction 1/60th of any amount (the "cure amount") that you must pay the creditor in addition to the
             payments listed in Line 42, in order to maintain possession of the property. The cure amount would include any
             sums in default that must be paid in order to avoid repossession or foreclosure. List and total any such amounts in
             the following chart. If necessary, list additional entries on a separate page.
                    Name of Creditor                   Property Securing the Debt                    1/60th of the Cure Amount
               a. -NONE-                                                                       $
                                                                                                               Total: Add Lines    $                0.00
             Payments on prepetition priority claims. Enter the total amount, divided by 60, of all priority claims, such as
    44       priority tax, child support and alimony claims, for which you were liable at the time of your bankruptcy filing. Do
             not include current obligations, such as those set out in Line 28.                                                  $                  0.00
             Chapter 13 administrative expenses. If you are eligible to file a case under Chapter 13, complete the following
             chart, multiply the amount in line a by the amount in line b, and enter the resulting administrative expense.

              a.        Projected average monthly Chapter 13 plan payment.                  $                             0.00
    45        b.        Current multiplier for your district as determined under schedules
                        issued by the Executive Office for United States Trustees. (This
                        information is available at www.usdoj.gov/ust/ or from the clerk of
                        the bankruptcy court.)                                              x                           10.00
              c.        Average monthly administrative expense of Chapter 13 case           Total: Multiply Lines a and b          $                0.00
    46       Total Deductions for Debt Payment. Enter the total of Lines 42 through 45.                                            $          1,227.16

                                                            Subpart D: Total Deductions from Income
    47       Total of all deductions allowed under § 707(b)(2). Enter the total of Lines 33, 41, and 46.                           $          6,598.94

                                           Part VI. DETERMINATION OF § 707(b)(2) PRESUMPTION
    48       Enter the amount from Line 18 (Current monthly income for § 707(b)(2))                                                $          6,606.79
    49       Enter the amount from Line 47 (Total of all deductions allowed under § 707(b)(2))                                     $          6,598.94
    50       Monthly disposable income under § 707(b)(2). Subtract Line 49 from Line 48 and enter the result.                      $                7.85



Software Copyright (c) 1996-2010 Best Case Solutions - Evanston, IL - www.bestcase.com                                                 Best Case Bankruptcy
            Case 4:10-bk-23768-JMM                               Doc 1 Filed 07/29/10 Entered 07/29/10 10:44:52                        Desc
                                                                Main Document Page 55 of 58
    B22A (Official Form 22A) (Chapter 7) (04/10)                                                                                                                                   7

      51       60-month disposable income under § 707(b)(2). Multiply the amount in Line 50 by the number 60 and enter the
               result.                                                                                                                                      $             471.00
               Initial presumption determination. Check the applicable box and proceed as directed.
                  The amount on Line 51 is less than $7,025*. Check the box for "The presumption does not arise" at the top of page 1 of this
      52       statement, and complete the verification in Part VIII. Do not complete the remainder of Part VI.
                  The amount set forth on Line 51 is more than $11,725* Check the box for "The presumption arises" at the top of page 1 of this
               statement, and complete the verification in Part VIII. You may also complete Part VII. Do not complete the remainder of Part VI.
                      The amount on Line 51 is at least $7,025*, but not more than $11,725*. Complete the remainder of Part VI (Lines 53 through 55).
      53       Enter the amount of your total non-priority unsecured debt                                                                                   $
      54       Threshold debt payment amount. Multiply the amount in Line 53 by the number 0.25 and enter the result.                                       $
               Secondary presumption determination. Check the applicable box and proceed as directed.
                  The amount on Line 51 is less than the amount on Line 54. Check the box for "The presumption does not arise" at the top of page
      55       1 of this statement, and complete the verification in Part VIII.
                  The amount on Line 51 is equal to or greater than the amount on Line 54. Check the box for "The presumption arises" at the top
               of page 1 of this statement, and complete the verification in Part VIII. You may also complete Part VII.


                                                           Part VII. ADDITIONAL EXPENSE CLAIMS
      56       Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the health and welfare
               of you and your family and that you contend should be an additional deduction from your current monthly income under §
               707(b)(2)(A)(ii)(I). If necessary, list additional sources on a separate page. All figures should reflect your average monthly expense for
               each item. Total the expenses.

                         Expense Description                                                                                                   Monthly Amount
                 a.      NOTE: Line 26 = Retirement & union dues                                                         $
                 b.                                                                                                      $
                 c.                                                                                                      $
                 d.                                                                                                      $
                                                                         Total: Add Lines a, b, c, and d                 $

                                                                          Part VIII. VERIFICATION
               I declare under penalty of perjury that the information provided in this statement is true and correct. (If this is a joint case, both debtors
               must sign.)
                             Date: July 29, 2010                                          Signature: /s/ Travis Val Cote
                                                                                                        Travis Val Cote
      57                                                                                                           (Debtor)

                                  Date:      July 29, 2010                                                   Signature       /s/ Alexis Lorraine Cote
                                                                                                                              Alexis Lorraine Cote
                                                                                                                                        (Joint Debtor, if any)




*
    Amounts are subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.


Software Copyright (c) 1996-2010 Best Case Solutions - Evanston, IL - www.bestcase.com                                                                           Best Case Bankruptcy
              Case 4:10-bk-23768-JMM                               Doc 1 Filed 07/29/10 Entered 07/29/10 10:44:52                                                Desc
                                                                  Main Document Page 56 of 58
  B22A (Official Form 22A) (Chapter 7) (04/10)                                                                                      8


                                                    Current Monthly Income Details for the Debtor

Debtor Income Details:
Income for the Period 01/01/2010 to 06/30/2010.

Line 3 - Gross wages, salary, tips, bonuses, overtime, commissions
Source of Income: Husband's Employment
Income by Month:
 6 Months Ago:                                   01/2010                   $5,199.06
 5 Months Ago:                                   02/2010                   $5,127.63
 4 Months Ago:                                   03/2010                   $5,080.00
 3 Months Ago:                                   04/2010                   $5,080.00
 2 Months Ago:                                   05/2010                   $5,080.01
 Last Month:                                     06/2010                   $5,080.01
                                           Average per                     $5,107.79
                                               month:




Software Copyright (c) 1996-2010 Best Case Solutions - Evanston, IL - www.bestcase.com                            Best Case Bankruptcy
            Case 4:10-bk-23768-JMM                               Doc 1 Filed 07/29/10 Entered 07/29/10 10:44:52   Desc
                                                                Main Document Page 57 of 58
  B22A (Official Form 22A) (Chapter 7) (04/10)                                                                                      9

                                            Current Monthly Income Details for the Debtor's Spouse

Spouse Income Details:
Income for the Period 01/01/2010 to 06/30/2010.

Line 3 - Gross wages, salary, tips, bonuses, overtime, commissions
Source of Income: Wife's Income
Income by Month:
 6 Months Ago:                                   01/2010                   $2,003.80
 5 Months Ago:                                   02/2010                   $1,230.32
 4 Months Ago:                                   03/2010                   $1,270.42
 3 Months Ago:                                   04/2010                   $1,759.88
 2 Months Ago:                                   05/2010                   $1,294.40
 Last Month:                                     06/2010                   $1,435.19
                                           Average per                     $1,499.00
                                               month:




Software Copyright (c) 1996-2010 Best Case Solutions - Evanston, IL - www.bestcase.com                            Best Case Bankruptcy
            Case 4:10-bk-23768-JMM                               Doc 1 Filed 07/29/10 Entered 07/29/10 10:44:52   Desc
                                                                Main Document Page 58 of 58
